                                           UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF OREGON

In re                                                )             18-33339-tmb13
                                                          Case No. ________________
Edward J. Duffy                                      )
                                                     )    NOTICE OF MOTION FOR RELIEF
                                                     )    FROM (Check all that apply):
                                                     )      AUTOMATIC STAY IN A CHAPTER 7/13 CASE
Debtor(s)                                            )      CHAPTER 13 CODEBTOR STAY

  I.   YOU ARE NOTIFIED that a Motion was filed by ____________________________________________,
                                                               Internal Revenue Service          the moving
       party, for (Check all that apply):

            Relief from the automatic stay protecting the debtor(s) and debtor's property, as provided by 11 USC §362.
            Relief from the stay protecting the codebtor, whose name and service address are: _______________________
            __________________________________________________________________________________________,
            and codebtor’s property as provided by 11 USC §1301.

 II.   A copy of the Motion is attached. The name and service address of the moving party's attorney (or moving party, if no
       attorney) are:__________________________________________________________________________________
                      Kathleen L. Bickers, 1000 SW Third Ave., Suite 600, Portland, OR 97204
       _____________________________________________________________________________________________

III.   If you wish to resist the Motion, you must, within 14 days of the service date shown below, file the following with the Clerk
       of the U.S. Bankruptcy Court [NOTE: if you mail or have a courier deliver the Response to the Court for filing, you must
       mail it or initiate the delivery sufficiently before the deadline so that it will actually be received at the Court on time.]


       A. A written response that states the facts supporting the opposition to the Motion by filling in the applicable “Response”
          portions on a copy of the original Motion. [NOTE: If the Response will be electronically filed, the Response must be
          prepared using the “fillable” pdf version of the original Motion unless the Motion was filed on paper and could not
          be electronically obtained from the movant];

And B. A fully completed Notice of Hearing using Local Form #721, including the date and time of the hearing. Available
       hearing dates and times are posted on the Court’s website at www.orb.uscourts.gov under the “Hearings” heading.
       If you do not have internet access, please call the Court at (503) 326-1500 or (541) 431-4000 and press “0" to obtain
       the required forms and hearing information from a Court clerk.

IV.    Failure to Respond and Serve Proper Notice of Hearing. If you fail to file a timely response and a proper Notice of
       Hearing, then either:

       A. The automatic stay will expire as to the debtor(s) pursuant to 11 USC §362(e) 30 days after the Motion was originally
          filed, and/or the stay protecting the codebtor will automatically expire pursuant to 11 USC §1301(d) 20 days after
          the date the Motion was originally filed;

 Or    B. The Court may sign an ex parte order, submitted by the moving party on Local Form #720.90, granting relief from
          the debtor stay and/or codebtor stay.

                                                         Clerk, U.S. Bankruptcy Court
                                                         [NOTE: If the 5-digit portion of the Case No. begins with "3" or "4", mail
                                                         to 1001 SW 5th Ave. #700, Portland OR 97204; OR if it begins with "6" or
                                                         "7", mail to 405 E 8th Ave #2600, Eugene OR 97401.]


I certify that: (1) The Motion was prepared using the Court’s “fillable” PDF version of Local Form #720.80; and (2) that on
___________
    10/18/18 I served copies of this Notice and the Motion on the Debtor(s), any codebtor at the address listed above, Trustee,
U.S. Trustee, members of any committee elected pursuant to 11 USC §705, and their respective attorneys.



                                                   /s Kathleen L. Bickers                                                    85151
                                                  Signature of Moving Party or Attorney                                    (OSB#)
720 (12/1/13)


                                  Case 18-33339-tmb13               Doc 27      Filed 10/18/18
                                            UNITED STATES BANKRUPTCY COURT
                                                   DISTRICT OF OREGON

In re                                            ) Case No. 18-33339-TMB13
                                                 )
Edward J. Duffy
                                                 ) (CHECK ALL APPLICABLE BOXES)
                                                 )    Ch. 7/13 Motion for Relief from
                                                 )        DEBTOR        Chapter 13 CODEBTOR Stay
                                                 )    Filed by Creditor:
                                                 )    Internal Revenue Service
                                                 )    Response to Stay Motion filed by Respondent:
Debtor(s)                                        )

1. Debt, Default, Other Encumbrances, Description and Value of Collateral (To be completed by creditor)

    a. Description of collateral (car model, year, VIN, property address):




    b. Amount of debt: $                       consisting of principal: $                     ; interest: $                 ; other:



    c. Description, amount and priority of other encumbrances on collateral. If not known, include applicable information from
       debtor’s schedules if available on PACER:




        Total debt secured by collateral (total 1.b. + 1.c.): $                     .

    d. Value of collateral: $                     .
       Equity in collateral: $                     , after deducting $                    liquidation costs.

    e. Current monthly payment: $                         .

    f. If Chapter 13:

        (1) $                    postpetition default consisting of (e.g., $       payments, $        late charges, $     fees):


        (2) $                    prepetition default consisting of       amounts specified in proof of claim, or,   consisting of:




    g. If Chapter 7, total amount of default $                       .

RESPONSE (Identify specific items disputed and specify what you contend are the pertinent facts including why there is a
postpetition default, if applicable) (to be completed by respondent):




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2. Relief from stay should be granted because (check all that apply): (To be completed by creditor)
     Lack of adequate protection because of failure to make sufficient adequate protection payments and lack of a sufficient
     equity cushion.
     Lack of insurance on collateral.
     No equity in the collateral and the property is not necessary for an effective reorganization.
     Failure of debtor to make Chapter 13 plan payments to the trustee.
     Failure of debtor to make direct payments to secured creditor as required by Chapter 13 plan.
     Other (describe):
Creditor is seeking a lifting of the stay so that the proceeding in U.S. Tax Court entitled Edward J. Duffy & Shannon L. Duffy
v. Commissioner, Docket No. 8711-16, filed April 14, 2016 may proceed to conclusion so that the Tax Court may redetermine
debtor's tax liability for tax years 2009, 2010, 2011, 2012, 2013, and 2014. See attached.




RESPONSE (Specify why relief from stay should be denied. If respondent proposes to cure a postpetition default, detail the
cure by attaching a proposed order using Local Form (LBF) 720.90 available at www.orb.uscourts.gov under Forms/Local
Forms) (to be completed by respondent):




3. Background (To be completed by creditor)

    a. Date petition filed:   09/25/18 Current Chapter: 13 (7 or 13)
       If 13, current plan date    10/16/18 Confirmed:           Yes No
       If 13, treatment of creditor’s prepetition claim(s) in plan:



      If 7, debtor   has     has not stated on Local Form (LBF) 521 or 521.05 that debtor intends to surrender the collateral.

    b. Creditor has a lien on the collateral by virtue of (check all applicable sections and also see ¶6 below):
          Security agreement, trust deed or land sale contract dated                    , and, if applicable, an assignment of said
          interest to creditor. The security interest was perfected as required by applicable law on                    .
          Retail installment contract dated                  , and, if applicable, an assignment of said interest to creditor. The
          security interest was perfected on the certificate of title on                .
          Other (describe):
See Claim 3-1




RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




4. Request for Relief from Codebtor Stay (Only Chapter 13)
   a.                               , whose address is
                              is a codebtor on the obligation described above, but is not a debtor in this bankruptcy.

    b. Creditor should be granted relief from the codebtor stay because (check all applicable boxes):    codebtor received
        the consideration for the claim held by creditor,    debtor’s plan does not propose to pay creditor’s claim in full,
           creditor’s interest would be irreparably harmed by continuation of the codebtor stay as a result of the default(s)
       described above and/or       because:




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RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




5. Other Pertinent Information (To be completed by creditor, if applicable):
Creditor is seeking a lifting of the stay so that the proceeding in U.S. Tax Court entitled Edward J. Duffy & Shannon L. Duffy v.
Commissioner, Docket No. 8711-16, filed April 14, 2016 may proceed to conclusion so that the Tax Court may redetermine
debtor's tax liability for tax years 2009, 2010, 2011, 2012, 2013, and 2014. See attached.




RESPONSE (Identify any disputed items and specify the pertinent facts) (to be completed by respondent):




6. Relief Requested (check all applicable sections): (To be completed by creditor)

       Creditor requests relief from the automatic stay to allow it to foreclose its lien on the above identified collateral, and,
       if necessary, to take appropriate action to obtain possession of the collateral.

       Creditor has a security interest in real property and requests relief from stay with respect to an act against such property
       and that the relief be binding in any other bankruptcy case purporting to affect such real property filed not later than 2
       years after the date of the entry of an order granting this motion. (If you check this box, you must complete ¶5 above
       to support this request. If you do not do so, the Court will not grant relief binding in any other bankruptcy case.)

       Creditor requests that the 14-day stay provided by FRBP 4001(a)(3) be waived based on the following cause:


       Other (describe and explain cause):
Creditor is seeking a lifting of the stay so that the proceeding in U.S. Tax Court entitled Edward J. Duffy & Shannon L. Duffy v.
Commissioner, Docket No. 8711-16, filed April 14, 2016 may proceed to conclusion so that the Tax Court may redetermine
debtor's tax liability for tax years 2009, 2010, 2011, 2012, 2013, and 2014.




RESPONSE (Identify any disputed items and specify the pertinent facts. If respondent agrees to some relief, attach a proposed
order using Local Form (LBF) 720.90 available at www.orb.uscourts.gov under Forms/Local Forms) (to be completed by
respondent):




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7. Documents:

    If creditor claims to be secured in ¶3.b. above creditor has attached to and filed with this motion a copy of the
    documents creating and perfecting the security interest, if not previously attached to a proof of claim.

    If this case is a Chapter 13 case and the collateral as to which creditor seeks stay relief is real property, creditor
    has attached to and filed with this motion a postpetition payment history current to a date not more than 30 days before
    this motion is filed, showing for each payment the amount due, the date the payment was received, the amount of the
    payment, and how creditor applied the payment.

RESPONDENT requests creditor provide Respondent with the following document(s), if any marked, which are pertinent
to this response:
    Postpetition payment history if not required above.
    Documents establishing that creditor owns the debt described in ¶1 or is otherwise a proper party to bring this motion.
    Other document(s) (specific description):




CREDITOR/ATTORNEY                                                 RESPONDENT DEBTOR/ATTORNEY (by signing, the
                                                                  respondent also certifies that [s]he has not altered the
                                                                  information completed by creditor)

Signature:__________________________________
           /s Kathleen L. Bickers                                 Signature:__________________________________
Name: Kathleen L. Bickers                                         Name:
Address: 1000 SW Third Ave., Suite 600                            Address:
Portland, OR 97204
Email Address: kathleen.bickers@usdoj.gov                         Email Address:
Phone No: 503-727-1060                                            Phone No:
OSB#:     85151                                                   OSB#:



                                                                  RESPONDENT CODEBTOR/ATTORNEY (by signing,
                                                                  the respondent also certifies that [s]he has not altered
                                                                  the information completed by creditor)

                                                                  Signature:__________________________________
                                                                  Name:
                                                                  Address:

                                                                  Email Address:
                                                                  Phone No:
                                                                  OSB#:




YOU ARE HEREBY NOTIFIED THAT THE CREDITOR IS ATTEMPTING TO COLLECT A DEBT AND ANY INFORMATION
OBTAINED WILL BE USED FOR THAT PURPOSE.

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BILLY J. WILLIAMS, OSB #90136
United States Attorney
District of Oregon
KATHLEEN L. BICKERS, OSB #85151
kathleen.bickers@usdoj.gov
Assistant United States Attorney
United States Attorney’s Office
District of Oregon
1000 SW Third Ave., Suite 600
Portland, Oregon 97204-2902
Telephone:     (503) 727-1060
Attorneys for the United States



                          UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF OREGON



                                                                         Case No: 18-33339-tmb13
In re: EDWARD J. DUFFY,

            Debtor.                                UNITED STATES’ MOTION FOR
                                                   RELIEF FROM STAY


       THE UNITED STATES OF AMERICA, through its agency the Internal Revenue Service

(“IRS”) by Billy J. Williams, United States Attorney for the District of Oregon and through

Kathleen L. Bickers, Assistant United States Attorney for the District of Oregon, moves this

Court, pursuant to 11 U.S.C. § 362(d) and Fed. R. Bankr. P. 4001, for an order lifting the

automatic stay against the continuation of a proceeding before the United States Tax Court for

trial, briefing, opinion, and entry of decision and lifting the automatic stay thus permitting

assessment of any tax liability determined by the Tax Court with respect to debtor’s 2009, 2010,

2011, 2012, 2013, and 2014, taxable years.

       IN SUPPORT THEREOF the United States alleges:




Page 1 United States Motion for Relief from Stay
       In Re Duffy, 18-33339-tmb13
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       1.      On September 25, 2018, debtor initiated this bankruptcy action by filing a

bankruptcy petition seeking relief under Chapter 13. Debtor’s spouse, Shannon L. Duffy, is not

a co-debtor in this bankruptcy proceeding, and as of the date of this writing, has not filed for

bankruptcy protection.

       2.      On January 19, 2016, IRS issued a notice of deficiency to debtor and non-debtor

spouse, in the following amounts:

            Tax Year       Income Tax Deficiency               Accuracy-Related Penalty
            2009           $ 44,514.00                         $ 7,942.80
            2010           $ 40,469.00                         $ 8,093.80
            2011           $318,580.00                         $63,716.00
            2012           $ 59,022.00                         $11,804.40
            2013           $198,329.00                         $39,647.80
            2014           $ 1,544.00                          $ 108.80


A copy of the January 19, 2016, notice of deficiency is attached as Exhibit 1.

       3.      On April 14, 2016, in response to the notice of deficiency of January 19, 2016,

debtor and his non-debtor spouse filed a petition in the United States Tax Court entitled Edward

J. Duffy & Shannon L. Duffy v. Commissioner, Docket No. 8711-16. The Tax Court has

jurisdiction to re-determine debtor and non-debtor spouse’s income tax liabilities for taxable

years 2009, 2010, 2011, 2012, 2013, and 2014.

       4.      On September 11, 2017, Duffy v. Commissioner, Docket No. 8711-16, was

previously scheduled for trial during the Tax Court’s trial session scheduled in Portland, Oregon.

       5.      On May 25, 2017, debtor filed a petition with the United States Bankruptcy Court

for the District of Oregon under 11 U.S.C. Chapter 13. See In re Edward James Duffy, Case No.

17-31966-dwh13.




Page 2 United States Motion for Relief from Stay
       In Re Duffy, 18-33339-tmb13
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       6.       On June 1, 2017, as a result of debtor’s filing the bankruptcy action in 17-31966-

dwh13, Duffy v. Commissioner was stayed and by order of the Tax Court, trial was continued

from the September 11, 2017 trial session.

       7.       On July 18, 2017, debtor filed a motion to dismiss the 17-31966 bankruptcy

proceeding. On July 18, 2017, debtor’s motion was granted.

       8.       On August 1, 2017, debtor’s counsel in Duffy v. Commissioner, Docket No. 8711-

16, withdrew.

       9.       On September 11, 2017, the Tax Court issued an Order lifting its stay on the Tax

Court proceeding and restored the case back to its general docket.

       10.      On July 11, 2018, the Tax Court issued a notice setting Duffy v. Commissioner,

Docket No. 8711-16, for trial during its trial session scheduled to commence in Portland, Oregon

on December 10, 2018. Counsel for Commissioner issued informal discovery and has issued

and/or filed formal discovery on September 21, 2018, including Respondent’s Interrogatories to

Petitioners, Respondent’s Request for Production of Documents, and Respondent’s Request for

Admissions, in accordance with the Tax Court’s Rules of Practice and Procedures in Duffy v.

Commissioner, Docket No. 8711-16. The formal discovery was issued after debtor and non-

debtor spouse failed to meet for a conference beginning trial preparation and providing requested

information and documentation, including their positions on various adjustments in the notice of

deficiency in light of their former attorney’s withdrawal from the case.

       11.      On September 25, 2018, debtor filed the instant and second bankruptcy petition

seeking relief under 11 U.S.C. Chapter 13. At the time of filing on September 25, 2018, debtor’s

bankruptcy petition consisted solely of the 7-pages of the Official Form 101, Voluntary Petition

for Individuals Filing for Bankruptcy.




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       12.     On September 26, 2018, the Bankruptcy Court issued an Order and Notice

Regarding Filing of Document(s) and Notice of Proposed Dismissal, which ordered debtor to file

the following forms within 14 days:

               (1)     complete and current version of Summary of Assets and Liabilities, all

               Schedules required for the debtor, a signed Declaration About an Individual

               Debtor’s Schedules, and a signed Statement of Financial Affairs;

               (2)     Statement of Current Monthly Income on the current Official Form

               applicable to the case; and

               (3)     Chapter 13 Plan using the current version of Local Form 1300.17.

Dckt. 7.

       13.     On October 4, 2018, counsel for Commissioner filed a notice of debtor’s

bankruptcy filing with the Tax Court in Edward J. Duffy v. Commissioner, Docket No. 8711-16.

       14.     On October 9, 2018, the Tax Court issued an Order an Order noting that

Commissioner’s filing of notice regarding debtor’s bankruptcy filing on October 4, 2018,

suggesting that the Tax Court stay the case with respect to the debtor, but also noted that

Commissioner’s counsel has also stated that the Commissioner would ask this Court to lift the

automatic stay so that the Tax Court case could proceed as scheduled.

       15.     On October 9, 2018, debtor moved this Court for an extension of time to file

missing documents and documents required in its order of September 26, 2018 (Dckt. 7). Dckt.

15

       16.     On October 9, 2018, this Court granted debtor’s motion for extension of time and

gave a new filing deadline of October 16, 2018, for all missing documents subject to the court’s

September 26, 2018, order. Dckt. 16.




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       In Re Duffy, 18-33339-tmb13
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        17.     On October 9, 2018, IRS’s filed its Proof of Claim (POC) setting forth the

following liabilities;

                1.       Priority claims totaling $817,289.13, consisting of taxes and pre-petition

        interest to the date of petition filing with respect to income tax liabilities for taxable years

        2009 through 2017 inclusive, and 2017, and

                2        Unsecured general claims in the amount of $31,313.60.

        Claim 3-1.

        18.     On October 16, 2018, debtor filed all all previously ordered required forms,

schedules, and his initial Chapter 13 Plan.

        19.     On October 17, 2018, debtor filed an objection to IRS’s POC. Dckt 23

        20.     In his Objection to the IRS POC, debtor states,

        Liability is disputed and was, at the time of case filing, being litigated before the
        US Tax Court in the case of Duffy v. Commissioner of the Interal Revenue Service,
        Case No. 8711-16. The claim should be disallowed pending determination by the
        Tax Court and subsequent appeals, if any.

        Dckt 23, p. 2.

        21.     As of October 18, 2018, the Tax Court has not stayed its proceeding with respect

to debtor.

        22.     Debtor’s income tax liability for taxable year 2017 (return not filed at this time) is

not at issue in the Tax Court proceedings.

        23.     It is in the best interest of the debtor, non-debtor spouse, estate, and IRS that this

Court lift the automatic stay imposed under 11 U.S.C. § 362(a)(8) thus allowing the continuation

of the Tax Court proceeding.

        24.     As noted above, debtor’s spouse is not a co-debtor in this bankruptcy proceeding.

Where both spouses filed a petition to the Tax Court and only one spouse who filed the joint tax



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       In Re Duffy, 18-33339-tmb13
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returns has gone into bankruptcy, it is in the interest of litigative economy, and avoiding a

“whipsaw” situation, that the bankruptcy court order the stay be lifted, thus allowing continued

litigation in the Tax Court. Denial of lifting of the automatic stay would only, and unnecessarily,

delay the Tax Court’s determination of debtor’s income tax liabilities for taxable years 2009,

2010, 2011, 2012, 2013, and 2014, that debtor and non-debtor spouse sought when they filed

Edward J. Duffy & Shannon L. Duffy v. Commissioner, Docket No. 8711-16 on April 14, 2016.

       25.     Counsel for Commissioner is ready to file motions to compel debtor and non-

debtor spouse’s responses to Respondent’s Interrogatories to Petitioners and Respondent’s

Request for Production of Documents served on September 21, 2018, if the automatic stay is

lifted and the responses are not timely and adequately provided in accordance with the Tax

Court’s Rules and Procedures.

       26.     The Tax Court has been advised of the government’s intention of seeking relief

from the automatic stay against the continuation of the proceeding before the United States Tax

Court for purposes of trial, briefing, opinion, and entry of decision and lifting the automatic stay

permitting assessment of any tax liability determined by the Tax Court with respect to the

debtor’s 2009, 2010, 2011, 2012, 2013, and 2014 taxable years.

                                              Respectfully submitted,
                                              BILLY J. WILLIAMS
                                              United States Attorney
                                              District of Oregon



Dated: October 18, 2018                       /s Kathleen L. Bickers
                                              KATHLEEN L. BICKERS,OSB #85151
                                              Assistant United States Attorney




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that service of the foregoing UNITED STATES’

MOTION FOR RELIEF FROM STAY was made on October 18, 2018, by mailing a true copy

addressed to the following, except those designated as receiving ECF notice, who will be served

electronically by ECF:


       Michael D. O’Brien, Attorney for Debtor                    ECF Only
       Wayne Godare, Trustee                                      ECF Only
       U.S. Trustee, Portland                                     ECF Only


Dated: October 18, 2018                     /s Kathleen L. Bickers
                                            KATHLEEN L. BICKERS,OSB #85151
                                            Assistant United States Attorney




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                _Department of the Treasury
                                                  <'                                 Date:
                                                                                                     (
•               Internal Revenue Service                                                       JAN   l~tDJ6
                Small Business & Self Employed Division                              Taxpayer ID number:
                915 Second Avenue
                Mailstop Wl40                                                       Fonn:
                Seattle, WA 98174                                                     1040
                                                                _ _ _ _ __ _ _ _ ....ee.rson_to. contact:.. - -   - -· ..   -_-_-_-_-_.-
                                                                                      Notices Clerk
               Edward J_ & Shannon L. Duffy                                          Contact telephone number:
               1717 Southwest Highland Road                                           206-946-3702
               Portland OR 97221-2729                                                Contact fax number:
                                                                                      NIA
                                                                                     Employee ID number:
                                                                                      N/A
                                                                                     Last day to file petition with US tax court:
                                                                                                                  - APR 18 2016

                                   Deficiency:           Penalties or Additions to Tax:
                                                             IRC6662(a)
        mber31,2009                     $44,514.00     -         7,942.80
        mber 31, 2010                   $40,469.00               8,093.80
        mber 31, 2011                  $318,580.00             63,716.00
         ber 31, 2012                   $59,022.00             11,804.40
        mber31,2013                    $198,329.00             39,647.80
    De ember 31, 2014                    $1,544.00                 108.80



    • Th amount only reflects the addition to tax under /RC section 665 l (a)(2) through the date ofthis notice. The addition to tax will
    conti ue to accrue from the due date ofthe return at a rate ofone-halfpercent (0.5%) for each month. or fraction thereof. of ·
    nonp men/, not exceeding.twenty-:f',ve percent (25.0%).




    Wh we are sending you this letter
    We etermined that you owe additional tax or other amounts, or both, for the tax year or years identified above.
    This letter is your Notice OfDeficieney, as required by law. The enclosed Fonn 4549-A, Income Tax
    Disc epancy Aqjustments or Fonn 5278, Statement. Income Tax Changes, shows how we figured the
    defi iency.

    Ify wish to challenge this determination
    If yo want to challenge this detennination in court before making any payment, you have 90 days from the
    date fthis letter (150 days if this Jetter is addressed to you outside of the United States) to file a petition with
    the nited States     Tax
                          Court to reconsider the deficiency.

            ation you will need
           have recently sought bankruptcy relief by filing a petition in bankruptcy court; see enclosed Notice 1421,
            ankruptcy Affects Your Right to File a Petition in Tax Court in Response to a Notice ofDeficiency.

                                                                                                            Letter 531 (Rev. 10-2015)
                                                                                                            C.taloa Number 40223L




    In Re Duffy,                            Motion for Relief from Stay Exhibit 1, Page 1 of 58
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                            . .     .   ('                                       ('
   o!1 can get a copy of the rules for filing a petition and a petition form by writmg to the following address:
                                                 United States Tax Court
                                                 400 Second Street, NW
                                                 Washington, DC 20217
 • The Tax Court has a simplified procedure for small tax cases when the dispute for each tax year is $50,000 or
   ess.
 • f you use this simplified procedure, you cannot challenge the Tax Court's decision. You can get information
   n the simplified procedure for small cases from the Tax Court by writing to the court at the address above or
     m the court's internet site at www.ustaxcourt.gov.
 • f you file a petition for multiple tax years and the dispute for any one or more of the tax years exceeds
   50,000, this simplified procedure is not available to you.

 T e Jaw regarding married couples
   e law requires separate notices for husbands and wives. Both must sign and file the petition or each must file
 a eparate, signed petition if this letter is addressed to both husband and wife, and both want to petition the Tax
 C urt.

If nly one spouse is in bankruptcy at the time this letter was issued or files a bankruptcy petition after the dste
of ·s letter, the bankruptcy automatic stay does not prohibit the spouse who is not in bankruptcy from filing a
pe "tion with Tax Court. The bankruptcy automatic stay of the spouse seeking bankruptcy relief does not extend
th time for filing a petition in Tax Court for the spouse who is not in bankruptcy.

 H w to file your petition form
Se d the completed petition form, a copy of this letter, and copies of all statements and/or schedules you
   ·ved with this letter to the Tax Court at the address above. If more than one tax year is shown above, you
m y file one petition form showing all of the years you are challenging.

 Y u may represent yourself before the Tax Court, or you may be represented by anyone admitted to practice
   ore the Tax Court.

T" e limits on tlling a petition
Th time you have to file a petition in the Tax Court is set by law.
   I. The petition is considered timely filed if the postmark date falls within the prescribed 90 or 150 day
       period and the envelope containing the petition is properly addressed with the correct postage.
   2. The Tax Court cannot consider your case if your Tax Court petition is filed late. IRS cannot grant an
       extension or allow a suspension of the prescribed deadline, even for reasonable cause. Thus, contacting
       the Internal Revenue Service (IRS) for more information, or receiving other correspondence from the
       IRS won't change the allowable period for filing a petition with the Tax Court.

If ou agree with the Notice of Deficiency
If ou decide not to file a petition with the Tax Court, please sign the enclosed Form 4089-B, Notice of
De ciency- Waiver, and return it to us at the IRS address on the top of the first page of this letter. This will
pe it us to assess the deficiency quickly and can help limit the accumulation of interest.

If e don't hear from you
If ou decide not to sign and return Form 4089-B, and you do not file a petition with the Tax Court within the
ti limit, the law requires us to assess and bill you for the deficiency after 90 days from the date of this letter
(15 days if this letter is addressed to you outside the United States).

                                                                                         Letter 531 (Rev. 10-2015)
                                                                                         Cateloa Number 40223L




In Re Duffy,                       Motion for Relief from Stay Exhibit 1, Page 2 of 58
18-33339-tmb13           Case 18-33339-tmb13 Doc 27 Filed 10/18/18
                                              ('                                       (
      N .te: If you are a C-corporation, section 662J(c) of the Internal Revenue Code ,vquires that we charge an
  '   in fest rate two percent higher than the normal rate on corporate underpayments in excess of$100,000.

       In ormation about the IRS Taxpayer Advocate Office
          e IRS office whose phone number appears at the top of the notice can best address and access your tax
       · ormation and help get you answers. You may be eligible for help from the Taxpayer Advocate Service (TAS)
      if ou have tried to resolve YQIJ!~.P..!!>~~m_tl!!'oygh_n_g_rmJ!IJRS_channels.and hm,e gotten nowhere, or you- - - - · .-.
·------w 1 ve an RS procedure Just isn't working as it should. TAS is your voice at the IRS. TAS helps taxpayers
      w ose problems are causing financial difficulty or significant cost, including the cost of professional
      re resentation (this includes businesses as well as individuals). You can reach TAS by calling the TAS toll-free
            ber at 1-877-777-4778 or by contacting the local Taxpayer Advocate office at:
                                                    1220 SW 3rd Ave, Suite 0044
                                                    Mail Stop 0-405
                                                    Portland, OR 97204
      To learn more about TAS and your basic tax responsibilities, visit www.TaxpayerAdvocate.irs.gov.

      H to contact us
      Yo may write or call the contact person whose name, telephone number, and IRS address are shown in the
      h ding of this letter if you need further assistance. If you write, please include your telephone number, the best
      ti es if we need to call you and a copy of this Jetter to help us identify your account.

          ou prefer to call and the telephone number is outside your local calling area, there may be a long distance
      c    geto you.

          p the original letter for your records.

                                                                   Sincerely,
                                                                   John A. Koskin~n
                                                                   Conunissioner
                                                                   By


                                                                     ~LJ-~                 \-Jy   'QG
                                                                   Heather J. Yocum
                                                                   Technical Services Territory Manager


      En Josures:
      Fo 4549-A or Form 5278
      Fo 4089-B




                                                                                                  Letter 531 (Rev.10-2015)
                                                                                                  C.taloo Number 40223L




      In Re Duffy,                        Motion for Relief from Stay Exhibit 1, Page 3 of 58
      18-33339-tmb13            Case 18-33339-tmb13 Doc 27 Filed 10/18/18
                                                                                                                 Page: 4
•      ,                                                 Continuation Sheet
            NAME: Edward J. & Shannon L. Duffy                                                     TIN:
           Interest on Deficiencies - IRC §6601(a)

           Interest on deficiencies will accru!,_,from the due date of the return until paid......_.


           Accuracy-Related Penalty - IRC §6662(a)

           You are liable for the accuracy-related penalty imposed under section 6662 of the Internal Revenue
           Code. You have not shown you had reasonable cause for the underpayment of tax or any exceptions to
           the penally. The penalty is twenty percent (20%) of the portion of the underpayment of tax attributable to
           each component of this penally. In addition, interest is computed ,on this penally from the due date of ihe
           return (including any extensions).

           Substantial Understatement oflncome Tax
           It Is determined that all or a portion of the underpayment of tax is a substantial understatement of income
           tax, since the ·resulting understatement of tax exceeds the greater of ten percent (10%) of the .tax required
           to be shown on the return or $5,000.
           Negligence
           In the alternative, it is determined that all or a portion of the undetpayment of tax is due to negligence.
           Negligence is defined as a failure to make a reasonable attempt to comply with the provisions of the
           Internal Revenue Code or to exercise ordinary and reasonable care in the preparation of a tax return. ft
           also includes a failure to keep proper books and records or to properly substantiate claimed items.


           Power of Attorney -·Form 2848

           Receipt is acknowledged of Form 2848, Power of Attorney, naming a representative to act for you on tax
           matters relating to one or more of the years shown above. Since the Power of Attorney Form Is
           incomplete, or does· not extend to all of the years to which this notice pertains, the Power of Attorney
           submitted by you cannot be recognized for purposes of prov!ding the representative with a copy of this
           notice. However, you may provide a copy of the notice to whomever you wish.




    In Re Duffy,                        Motion for Relief from Stay Exhibit 1, Page 4 of 58
    18-33339-tmb13            Case 18-33339-tmb13 Doc 27 Filed 10/18/18
                                                            (
                                                             •.                                                                            r'
                                                                                                                                                              :JAN 19 ~016
' For n·4089-B                                             Department of the Treasury-Internal Revenue Service                                         Symbols
 (Oct her 1999)                                                   Notice of Deficiency-Waiver                                                            SE:S:E:TS:W:SEA:Wl40

 Nam and address of taxpayer(s)                                                                                          Social security or Employer ldentlflcatlon Number
 Edw rd J. & Shannon L, Duffy
 171" Southwest Highland Road
 l'.ottl
         ~ r..n ------: ... ___
                                                                                   --      ·-             -                    - -              -              - -·         -                   ..




 Kind bf tax                        D        Copy to authorized representative

  Int< lme




                                                           DEFICIENCY -Increase In Tax and Penalties

 Tax Year Ended:                  D!,!ficienc):'.:                  Penalties or Additions to Tax:
                                                                        IRC6662(a)
 Dec ember 31, 2009                      $44,514.00                         7,942.80
 Dec ember 31, 2010                      $40,469.00                         8,093.80
 Dec ember 31,201 I                     $318,580.00                       63,716.00 /
 Dec ember 31, 2012                      $59,022.00                        11,804.40
 Dec ember 31, 2013                     $198,329.00                       39,647.80
 Dec ember 31, 2014                       $1,544.00                           108.80

• Thi amount only reflects the addition to tax under /RC section 6651{a}/2} through the date of this notice. The addition to tax will contin ue
toac •rue from the due date of the return at a rote of one-half percent (0.5%} for each month, or fraction thereof, of nonpayment not
exce• ding twenty-five percent (25.0%}.
                                                     See   th'    attached explanation for the above deflclenclea
 I a hsent to the Immediate assessment and collection of the deficiencies Qncrease In tax and penaHles) shown above, plus any
 ln!E Lest provided by law.                                      .

  Yo1 rSlgnature         ....................................................................................................................................'fll61l~IM4T"

 Spc l.rse's Signature
 (If, Joint Return
 Wa Flied}
                         ...........................................................................................................................
                                                                                                                                                                                (Dot~ signed}
  Tax bayer•s
  Re, resentatlve
  Sig Here               ...........................................................................................................................
                                                                                                                                                                                (DDte signed)


  Cc, k>orateName        _... ................................................................................................................................................
  Co1 k>orate Officers
  Si1 hHere
                          C: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                                  (Signature)                                                 (Title)                                                            (Date signed)
                                    ........................................................................... ·.......................................................................................
                                                 {Signature)                                                  (Title)                                                            (Date signed)

                                    If ··ou --ree "lease si ... n one co""··and ret11r• 1•· Leen tho o..L.er ..... - •• f,,r ..-ur record"
Cat.I o. 29000E                                                                    www.lrs.gov                                                                         Form 4089-B (10-1999)




 In Re Duffy,                                 Motion for Relief from Stay Exhibit 1, Page 5 of 58
 18-33339-tmb13                     Case 18-33339-tmb13 Doc 27 Filed 10/18/18
                                              ('.                                                  r·
 -r----------.. . ~-----------..l..-----------    lnstructions for Form 4089 B
  N te:
     If you consent to the assessment of the amounts shown in this waiver, please sign and return it in order to limit the accumulation of
 in erest and expedite our bill to you. Your consent will not prevent you from filing a claim for refund (after you have paid the tax) if
 y u later believe you are entitled to a refund. It will not prevent Us from later determining, if necessary, that you owe additional tax;
 n r will it ~_n~he time provided by law for either action.                    . ·- _ _ .             . . _        .             - - . -

    If you later file a claim and the Internal Revenue Service disallows it, you may file suit for refund in a district court or in the United
    tes Claims Court, but you may not file a petition with the United States Tax Court.

    ho Must Sign

    If this waiver is for any year(s) for which you filed a joint return, both you and your spouse must sign the original and duplicate of
 th form. Sign your name exactly as it appears on the return. If you are acting under power of attorney for your spouse, you may sign
 as gent for him or her.

    For an agent or attorney acting under a power of attorney, a power of attorney must be sent with this form if not previously filed.

   For a person acting in a fiduciary capacity (executor, administrator, trnstee), file Form 56, Notice Concerning Fiduciary
 R ationship, with this form if not previously filed.

    For a corporation, enter the name of the corporation followed by the signature and title of the officer(s) authorized to sign.

 0 tional Paragraphs

    A check in the block to the left of a paragraph below indicates that the paragraph applies to your situation.


            0      The amount shown as the deficiency may not be billed, since all or part of the refund due has been held to
                   offset all or a portion of the amount of the deficiency. The amount that will be billed, if any, is shown on
                   the attached examination report.

            0      The amount shown as a deficiency may not be billed, since the refund due will be reduced by the amount .
                   of the deficiency. The net refund due is shown on the attached examination report.




cat. o. 29000E                                                   www.irs.goy                                            Form 4089-B (lo-1999)




In Re Duffy,                           Motion for Relief from Stay Exhibit 1, Page 6 of 58
18-33339-tmb13               Case 18-33339-tmb13 Doc 27 Filed 10/18/18
                                                     Deµ...,tment of the Treasury~lntemal Revenue Service          '
'     Pbrm4549-A                                  Income Tax Examination Changes                                                              1          2
      (Rev. March 2013)                                (Unagreed and Excepted Agreed)                                                Page           of
       ame and Address of Taxpayer                                                       T8l'f)ayer Identification Number            Retum Form No.:
                                                                                                                                                  1040
      Edward J. & Shannon L. Duffy
                                                                                        Person wHh whom           Name and Tftla:
      4717 Southwest Highland Road                                                      examination
      Portland OR 97221-2729                                                            changes were

       1. Adjustments to Income
                                                                                            .....__,_
                                                                                        dls<:ussed.
                                                                                                                       t'OnodEnd              Period End
                                                                                                                                                             -
                                                                                             U/3l/:.i009               12/31/21110

       a. Rental Loss, Statutory Adjuatmellt related to NOL                                      25,000.00                 13,972.00
       b. Other Income, Restricted Interest Adjustment                                          274:, 002 .oo            144,268.00
       C, Itemized Deductions                                                                     6,597,00                   3,164.00
       d. Bxempti.ons                                                                             1,606.00

       ••
       I·
       n.


       ~




       n.




        • Total Adjuotmenla                                                                    301,·2os.oo               161,40.f.OO
      : . TaxabJe Income Per Reh,lm or as Previously Adjusted                                (157,941.00)               (18,687.00}
            COrriteted Taxable Income                                                           149,264.00               142,717.0~
      '·                   Tax Method                                                        TAX RATB                  TAX RATE
                           Filing Status                                                        Joint                    Joint
        Tax
       i.                                                                                        30,057.00                  28,204 .OD
      L Addltlonal Taxes I Attematlve Minimum                                                     9,657.00                   7,465.00

        , Com,cted Tax Liability                                                                 39,714.00                  35,669.00
        .u..               ••
            Cn>dit8
                           .
                           b•

                           d.                                                                                                  .


      E Balance (Lins 7 l&ss total of Lines 89 thro Bel)                                         39,714 .oo                 35,669.00

      1( Plus
            OU,er
                      ••b. Tax on Qualified Plans,                                                                           6,000.00


            Ta,ces    C.
                      d.
      11 Total Como<:led Tax Lloblllty (Un• 9 plus Lines 10• thru 10d)                           39, 716,00                 41,669.00
      12 Total Tax Shown on Retum or as Previously Adjusted                                                0.00              6,000.00
      13 Adjustments to: a. see Attached                                                              Uo0.00)                (800. 00}
                                b.
                                c. Addnl Child. Tax Credit                                      (4,000.001                (4,000.00)


      14 Deftdency~lncrease In Tax or (Overassessment - Decrease In Tax)
         (Lin& 11 less Une 12 adjusted by Line~ 13a through 13c)                                 44,514.00                  40,469.00

      15 Adjustments to Prepayment Credits-Increase (Decrease}

      16 Balance Due OT (Overpayment) - (Une 14 adjusted by Line 15)
            (Excluding lnt11rest and pens/ties)                                                  44,514.00                  40,469.00




     ca ~log Number 2311 OT                                                www.irs.gov                                        Form 4549-A (Rev. 3-2013)




    In Re Duffy,                                     Motion for Relief from Stay Exhibit 1, Page 7 of 58
    18-33339-tmb13                         Case 18-33339-tmb13 Doc 27 Filed 10/18/18
                                                            \.                                                           (-
.      "Fonn 4549-A
                                                         Department of the Treasury-Jntemal Revenue Servfce
                                                         Income Tax Examination Changes
             (Rev. March 2013)                                                                                                              Page        2      of    2
                                                             /Unaareed and Excented Aareedl
         NameofT_~r                                                                              Taxpayer Identification Number             Return Form No.:
         Edward J. &:. Shannon L. Duffy
                                                                                                                                                         1040
                                                                                                    Period End                Period End                    Period End
         17. PenatttDSI Code Sections                                                                12/31/2DD9                12/31/2010
                                              .



--
        8.Accura,_,.-IRC . 6662 .
       - b~-
                                                                                                         -                    ----8,-09.1 •. -     --                    ..


        c.
        d.
        e.
        ,.
        g.
        h.
        L
        J.
        k.
        I.
        m.
        n.
        18. Tola! Penaltlao                                                                              7,942.80                   8,093.80

                Underpayment atlrlbulable to negligence: (1981-1987)
               -A taX addition of 60 percent of the Interest due on tho
                underpaym&nt wfll sccrut1 until II Is paid or ass&swd.
               Underpayment attributable to fraud: /1981-1987)
               A tax addition of 50 peroent of the Interest due on the
               underpayment wm acaue until ft is paid or assessed.
               underpayment atlnbutable to Tax Motivated Transactions (TMT).
               Interest will accrue and be ........i at 120% of underpayment                                      o.oo                      0.00
               rate In accon!anoe with IRC 6621 (c).

        19. Summary ofTaxea, Penalties and Interest;
         a. Balance due or (OV..rpaymentJ Taxes· (Uno 16, Paga 1/                                       44,514.00                  40,469.00
         b. Penalties (Une 18)- computed to 01/12/2016                                                   7,9'2.80                   8,093.80
         c. Interest (/RC§ 6601)- oomputed to 02/11/2016                                                     0.00                       0.00
         d. lMT Interest· computed to      02/11/2016       /on 7MT underpayment/                             o.oo                      0.00
         e. Amount due or refund - (sum of Linea a, b, c and d)                                         52,456.80                  48,562.80

        Other lnfonnatlon:
       This report supersedes all previously Issued versions for the years shown above.




       Examiner's SlgnetuJB:
        Name                                                        Employee ID:             Oflloe:                                                Date:
        Technical Services                                                             N/A                 Seattle, WA                                  01/12/2016

        The Internal Revenue Service has agreements with state tax agencies under Which Information ebOut federal tax, Including Increases or decteeses, ls
        exchanged with the states. If this change effact.s the amount of your et.ate Income tax, you should amend )'Our state retum by fillng the necessary
        forms.
       You may be subJect to backup withholding If you unden'8port your lntere&I, dMdend, or patronage dividend Income you earned and do not pay the
       requtred tax. The IRS may orcktr backup withholding (withholding of a percentage of your dividend and/or Interest payment$) ff the tax remains unpaid
       ¢!er It has been assessed end four notices have been Issued to you over e 12Q-day period.

       Catalog Number 23110T                                                       www.irs.gov                                       Form 4549-A (Rev. 3-2013)




     In Re Duffy,                                 Motion for Relief from Stay Exhibit 1, Page 8 of 58
     18-33339-tmb13                     Case 18-33339-tmb13 Doc 27 Filed 10/18/18
                                                       r-                                                        r-·-
                                                      De?11rtment of the Treasury~ntemal Revenue Service            ..•
>     Form4549-A                                     Income Tax Examination Changes                                                        1               4
       (Rev. Morch 2013)                               {Unagreed 11nd Excepted Agreed)                                              Page          of
      Name and Address Of Taxpayer                                                       Taxpaver ldentfficaUon Number             Retum Form No.:
                                                                                                                                               1040




                                                                                        --
      Edward J. & Shannon L. Duffy
                                                                                        Person wfth whom         Name and Tllle:
      1717 southwest Highland Road                                                      examination
      Portland OR 97221-2729                                                            Changes were

                                                                                            P..iodEnd               Period End              Period End
                                                                                                                                                       -       ·-
       f. Ad,Juatrnentl to Income
                                                                                             12/ll/2011              l2/31/20U                 12/l1/2oU

       a. Other Income           ~   Debt Forgiven                                             108,661.00                                        391,532.00
       b, Sch Bl - Real Estate Loss After Passive Limitation                                   199,875.00
       c. Sah· C2 • car and Truck Expenses                                                        1,680,(10
       d. Sch C2 - Travel                                                                              S43 .00
       e. Other Gains or Losses From Form 4197                                                 971,988.00
       f. Itemized Deductions                                                                     8,519.00                  e,oos.oo              30,033.00
       g. Sch B      8
                          Inc/Lose - Partnership                                                                          261,741.00             338,565.00
       h. State Refunds, Credits, or Offsets                                                                               28,£43,00
       I. SB AGI Adjustment                                                                                               (9,181.00)             (9,911.00)
      J.    Exemptions                                                                                                                            23,400.00
      It.
       I.
       m.
       n.
      o.
      p,
      2. Total Adjustments                                                                  1,291,266.00                  289,208.00             773,559.00
      3. Taxeb!e ln00fll8 Per Return or as PreViously Adjusted                              (296,202.00)                  C93,2ss.oo)          Cl91, 108. 00)
      4. Convcted Taxable Income                                                               995,064.00                 195,953.00             582,451.00
                          Tax Method                                                        TAX AATB               SCHEDULED                   TAX RATE
                          Filing Status                                                        Joint                      Joint                  Joint
      5. Tax                                                                                   318,144.00                  42,629.00             178,297.00
      6. Additional Taxea / Aftemetlve Minimum                                                                                    140.00

      7. Com,cted Tax Llablllty                                                                318,144,00                  42,769.00             178,297.00
      8. Le81             a.
         CredltB          b.
                          C.

                          ••
      9. Balance (Lins 1 fess total of Lines 8s thru 8d}                                     _ 318,144.00                  42,769.00             178,297.00

       0. Plus           a. Tax on Qualified Plans                                              39,500.00                   5,315.00
          Other          b. Self Employment Tax                                                                            16,163.00              19,942.00
            Taxes    c.
                     d.
       1. Total Corrected Tax LlabUlty (Line 9 plus Lines 10a lhro 10d)                        357,644.00                  64,247.00             198,239.00

       2. Total Tax Shown on Return or as Prevlously Adjusted                                   39,500.00                   5,315.00                       0.00

       3. Adjustments to: a. See Attached                                                                                     (90.00)                  (90.00)

                               b.
                               c. Acldnl Child Tax Credit                                         (436,00)


       4. Deficiency-Increase In Tax or (Overassessmenl - Decroase In Tax)
          (Une 11 less Une 12 odjusted by Llm,s 13a through 13c}                               318,580.00                  S9,022,00             198,329.00


       5. Adjustments to Prepayment Credlts~fncrease (Decrease}

       6. Balance Due or ,OVerpayment) ~ (Une 14 edjusted by Une 15}
                                                                                               318,580.00                  59,022.00             198,329.00
            (Excluding lnreresl and penslties)




       atalog Number 23110T                                                www.lrs.gov                                        Form 4549-A (Rev. 3-2013)




    In Re Duffy,                                    Motion for Relief from Stay Exhibit 1, Page 9 of 58
    18-33339-tmb13                        Case 18-33339-tmb13 Doc 27 Filed 10/18/18
                                                            r•,
                                                                                                                          (-'
                                                           Department of the Treasury.Jntemat Revenue Service
'       'Form 4549-A                                    Income Tax Examination Changes
         (Rev. Malth 2013)                                                                                                                 Peg-        2        of   4
                                                                  /Unaareed and Excentad Aaree"'
         Name of Taxpayer                                                                       T8XS)ayer ldenUficatlon Number             Retum Fonn No.:
         Edward J. & Shannon L. Duffv
                                                                                                                                                           1040
                                                                                                   Period End               Pelfod End                     Period End
        17. Ponaltlea/ Code Secllono                                                                l:1:/31/2011                12/31hOU                    U/31/20U
        8 · Ac~aey~..6.6.2
                                                  -    -                                                 Ga,9                   ---n* 80'it';"4'0 -         -    39,641.   -
-   -
        b:
        c.
        d.
        e.
        ,.
        g.
        h.
        I.
        J.
        k.
        I.
        m.
        n.
        16. Total Penalha                                                                                63,716,00                 11,804..40                    39,647.80

               Underpayment attributable to negllgenoe: (1981-1987)
               A IBx addition of 60 peroont of tm, /ntoresl due on U,o
               underpayment wl11 accrue until It Is paid or assessed.
               Underpayment attributable 10 fraud: (1981-1987)
               A tax addition of 50 percent of the lnte18St due on 1he
               underpayment wfll eccrue until tt Is paid or asses&ed.
               Underpayment attributable to Tax Mo!lvo1ed Transactions (TM/].
               Interest will accrue and be anessed at 120% of underpayment                                         0.00                    o.oo                          o.oo
               rate In accordanoe Wi1h IRC 6621(c).
                                                                                                                                                        .

        19. Summary of Taxes, Penaltfas and Interest:
             a. Balanoe due or (O...rpayment) Taxes· (Une 16. Page 1)                                    318,580.00                59,022.00                    198,329.00
             b. Penelties (Uno 18}-computed to 01/u/2016                                                 63,716.00                 11,804,40                     39,647.80
             c. lnte1881 (/RC§ 6601}. computed kl 02/12/2016                                                       0.00                    o.oo                          o.oo
             d. TMT Interest computed to
                             w                 02/12/2016         (on 1MT unde,psyment}                        0.00                     o.oo                             o.oo
             e. Amount due or refund· (sum ofLines a, b, c end d)                                        382,296.00                ,o.s2&.4o                    231,976.80

        other lnfonnatlon:
        This report supel'68des etl preV\ously issued verslOns for the years shown abOve.




        Examlner's Sfgnaturv:
        Name                                                          Empk>yue ID:             Office:                                                Date:

        Technical Services                                                               N/A                Seattle, WA                                01/1.3/2016

        The Internal Revenue Service has agreements with state tax agencies under which Information about federal tax, lnciuding Increases or deaea68S, Is
        exchanged with the states. H lhl& change affects the amount of your state Income tax, you should amend your state retum by filing the necessary
        forms.
        You may be subject to backup wtthhokllng tf you underreport your Interest, lfMdend, or patronage lfJVidend Income you earned and do not pay the
        required tax. The IRS may order backup withholding (withholding of B percentegs of your dividend andlorlntarest payments) tr the tax remains unpaid
        after It hes been B"86Sed, end four notices have been Jssued to you over a 120-day period.

        :atalog Number 23110T                                                        www.lrs.gov                                      Form 4549-A (Rev. 3-2013)




    In Re Duffy,                                 Motion for Relief from Stay Exhibit 1, Page 10 of 58
    18-33339-tmb13                     Case 18-33339-tmb13 Doc 27 Filed 10/18/18
                                                         r                                                             ·-,,
                                                       De"p..rtment_ of the Treasury,,lntemal Revenue Service
  •      Fbnn4549-A                                   Income Tax Examination Changes                                              Page __3_ of _ _
                                                                                                                                                 4_
          (Rev. Me«:h 2013) ·                            (Unagreed and Excepted Agreed)
         Name and Address of Taxpayer                                                                                             Retum Form No.:




                                                                                           --
                                                                                            Taxpayer ldentmcatlon Number
                                                                                                                                            1040
         Edward J. & Shannon L. Duffy
                                                                                            Person wtth whom         Name and Tftle:
         1717 Southwest Highland Road
         Portland OR 97221-2729                                                             changes were

-- -      1. Adjustments to Income          -                                               discussed.
                                                                                                Period End
                                                                                                 U/31/20.H
                                                                                                                        Period End          Period End

          a. Sch E - Inc/Lose - Partnership                                                        139,335.00
          b. SE AGI Adjustment                                                                      (1,772.00)
          c. Itemized Deductions                                                                            164.00
          d.
          ••,.                                                                                                   .


          g.
          h.
          I.
         J.
          k.
         I.
         m.
         n.
         o.
         p.
         2. Total Adjustments                                                                      137,727 .oo
         3. Taxebte Income. Per Return or as Previously Adjusted                                 ae3,es1 .oo>
         4. Corrected Taxable tncome                                                              (46,130.00)
                      TaMMethod                                                                 TAX TABLE
                      AllngStatus                                                                   Join\
          5. Tax                                                                                              o.oo
          6. Addrtlonal Taxes I Attemattve Minimum
          7. Com>cted Tex Liability                                                                           o.oo
          8. Leaa
             Credits b.
                               ••
                       c.
                       d.
          9. Balance (Une 7 lsss total of Unes Ba thru 8d)                                                    0.00

          0. Plus         a. Self Employment Tax                                                      3,544.00
             Olher        b.
             Taxes        C.
                          d.
          1. Total Corrected Tax Liability (Uno 9 plus Unes 10a thru 10d)                             3,544.00
          2. Total.Tax Shown on Retum or a• Prevlously Adju&ted                                               o.oo
          3. Adjustments to: a.
                                    b.
                                    c. Addnl Child Tax Credit                                         2.000.00

          4. Daflciency-lncrease In Tex or (Overassessment- D8Cl9sse In Tsx)
             (Uno 11 tosSL/no 12 adjustedbyUnos 13a through 13c)                                      1.su.00

          5. Adjustments to Prepayment Credits-Increase (09cr9ase)

          6. Balance Due or (Overpayment) • (Line 14 adjusted by Une 15}
                 (Excfudlng Interest end penaltlss)                                                   1,544,00




         Catalog Number 23110T                                                 www.irs.gov                                     Form 4549-A (Rev. 3-2013)




       In Re Duffy,                                   Motion for Relief from Stay Exhibit 1, Page 11 of 58
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                                                                                                                               r·
•        '                                                 Department of the Treasury,.Jntemal Rewnue S8rvft;e
         Form4549•A                                       Income Tax Examination Changes                                                               4           4
         (Rev. March 2013)                                     lUnaarved and Excented Anreedl                                                Pag"'            of
        Nameoft~yer                                                                                Taxpayer Identification Number        Retum Fonn No.:
        Edward J. & Shannon L. Duffy
                                                                                                                                                  1040
                                                                                                       Period End               Period End              Period End
        17. Penaltlee/ Coda Section&                                                                    12/)l/301'

     - -8--AcCuxac) ·1:RC 6662                                                                                 .. v ........
                                                                                                                                                     i=.-              - ~=-
        b.
        c.
        d.
        ••f.
       g.
       h.
       ,.
       J.
       k.
       I.
       rn.
       ri.
       18. Total Penaltlee                                                                                     108,80

                 Underpayment attributable to negligence: (1981-1987)
                 A tax addition of50 pen;ent of th& Interest due on ths
                 und,,psyment will accrue until It Is paid or assessed.
                 Underpayment attributable to fraud: /1981-1987)
                 A tax oddlllon of 50 percent of the Interest due on the
                 underpayment will accrue until It Is pak:I or as&e6sed.
                 Underpayment attributable to Tax Motlv&led Transactions (TMT).
                 Interest wlll accrue and be 8ssessed at 120% of underpayment                                        o.oo
                 rate In eccordanoe- lRC 6621(c).

       19. Summary of Taxes, Penaltlee and Interest:
            a.   Balanoe due or (Overpayment) Taxes- (Une 16, Psge 1)                                        1,544.00
            b.   Penalties (Une 18} .. computed to 01/13/2016                                                  108.80
            c.   lnterast //RC§ 6601) -computed to 021121201•                                                        0,00
            d.   TMT Interest .. computed to      02/12/2016        (on TMT unde!J)eyment}                           0.()0
            e.   Amount due or refund - (sum of Unes e, b, c snd d)                                          1,652.80

       Other Information:
       This report supersedes ell previously Issued versions for the year& shown above.




       Exemfnefs Signature:
        Name                                                          Employee 10:                 Office:                                            Oete:
       Technical Services                                                                N/A                   Seattle, WA                             01/13/2016

        The lntema1 Revenue Service has agreements with state tax agencies under which Information about federal tax, Including Increases or decreases, ls
        exchanged with the states. If this change affecls the amount of your slate Income tax, you should amend your state return by filing the necessary
        fonns.
       You may be Gubject to backup wfthholding If you underrepon your Interest, dividend, or patronage dividend Income you earned and do not pay the
       required tax. The IRS may order backup withholding (withholding of s pem,ntsge of yourdMdend and/or lnts,ust payments) If the tax remains unpaid
       after It has been assessed and four notices have been Issued to you over a 120-day period.

       Catalog Number 23110T                                                         www.lrs.gov                                      Form 4549-A (Rev. 3-2013)




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    18-33339-tmb13                        Case 18-33339-tmb13 Doc 27 Filed 10/18/18
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                                              \
•                                                                                                                       Schedule nmnkt or exhibit
      Form886-A
      (Rev.January                            EXPLANATION OF ITEMS
      199-4)886-A                                                                                                                      1
      Name ofTa,cpayer                                   Taxpayer ldcn1if1Cation Number                                        Ycar/Period Ended

      Edward J. & Shannon L. Duffy                                                                                               20092010
                                                                                   -      .    .               -                                      ---

      1.a. Rental Loss, Statuto,y Adjustment related to NOL

                                Tax Period             Per Return                             Per Exam                   Adjustment
                                     2009            ($25,000.00)                                 $0.00                  $25,000.00
                                     2010            ($13,972.00)                                 $0.00                  $13,972.00

       This is a statutory adjustment; since the net operating loss was disallowed or decreased, modified adjusted gross
       ncome was increased causing the special allowance for rental real estate loss to be disallowed in the amount
      jshown.


      1.b. Other Income, Restricted Interest Adjustment

                                Tax Period             Per Return                             Per Exam                   Adjustment
                                     2009           ($274,002.00)                                 $0.00                 $274,002.00
                                     2010           ($144,268.00)                                 $0.00                 $144,268.00

       lince the net operating loss on which this carryback/carryover is based was disallowed or decreased, the
      ::arryback/carryover was disallowed in the amount shown .


       .c. Itemized Deductions

                                Tax Period            Per Return                         Per Exam                        Adjustment
                                    · 2009           $112,558.00                       $105,961.00                        $6,597.00
                                      2010           $104,871.00                       $101,707.00                        $3,164.00

      :ertain expenses deducted as miscellaneous Itemized deductions are only deductible to the extent that they
      !Xceed a percentage _of your adjusted gross income. Since we have made other changes in this report which
      !ffect your adjusted gross income, we have also adjusted these expenses.


       .d. Exemptions

                               . Tax Period           Per Return                               Per Exam                  Adjustment
                                      2009            $21,900.00                              $20,294.00                  $1,606.00

      rhe amount you can claim for your exemptions is reduced if your income is more than the dollar limit for your
      Jlirig status. Your income is more than that limit, so we reduced the amount you can claim. We have attached a
      >ersonal Exemption Worksheet to show you how we figured the change.




                                                                                               Department of the Treasury• Internal Revenue Service
      •onn 886-A <1-1094)




    In Re Duffy,                       Motion for Relief from Stay Exhibit 1, Page 13 of 58
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    Form886-A                                                                                                    Schedule number at Cllhibit
    (Rev. January
    1994)88&-A                               EXPLANATION OF ITEMS                                                                2
                                                       Taiqia)'ff ldmtific:ation Number                                 Year/f'mod Ended

    Edward J. & Shannon L. Duffy                                                                                          2(!_09 20!0

    6. Alt Min Tax
                              Tax Period            Per Return                            Per Exam               Adjustment
                                     2009                 $0.00                           $9,657.00                $9,657.00
                                     2010                 $0.00                           $7,465.00                $7,465.00

    You have an alternative minimum tax liability only if your tentative minimum tax exceeds your regular tax liability.
    Tentative minimum tax is computed by first calculating your altematlve minimum taxable Income, which equals
   -your regular taxable income increased by any tax preference item& for the taxable year, and increased or
    decreased by adjustment items for the taxable year. Alternative minimum taxable income is then reduced .bY an
   .exemption amount determined by filing status, which Is subject to phase-out depending on the amount of your
    alternative minimum taxable income. The Married Filing Joint exemption amount for tax year 2009 Is $70,950, and
    for tax year 2010 Is $72,450.

   For taxable years after 1992, the remaining amount Is subject to a 26 percent tax rate on the first $175,000 and
   28 percent tax rate on any amount in excess of $175,000. A tentatiVe minimum tax Is then computed by reducing
   the amount determined in the preceding sentence by any allowable foreign tax credit. The alternative minimum
   tax liability is the amount by which tentative minimum tax exceeds regular tax liability.

   13.a. Making Work Pay Credit
                              Tax Period            Per Return                            Per Exam               Adjustment
                                     2009              $600.00                                $0.00                 ($800.00)
                                     2010              $800.00                                $0.00                 ($800.00)

   The amount you can claim for the Making Work Pay credit is reduced If your adjusted gross income (AGI) is more
   than the dollar limit for your filing status. After adjusting for other changes In this report, your AGI is more than that
   limit, so we reduced the amount you can claim. See also attached computation schedules.


   13.c. Additional Child Tax Credit
                              Tax Period            PerRetum                              Per Exam               Adjustment
                                     2009            $4,000.00                                $0.00              ($4,000.00) .
                                     2010            $4,000.00                                $0.00              ($4,000.00)

   Because we changed your adjusted gross income and tax liability, we have also adjusted your additional child tax
   credit accordingly. See attached computation schedules.




                                                                                          Department of the Treasury• Internal Revenue Service
   Form   886-A (1-1994)




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                                                                                                                 Schedule number er nhibit
       Fonn886-A
       (Rev. January                         i:XPLANATION OF ITEMS
       1914)886-A                                                                                                               3

       Name ofTaxpaycr                                   Taltpaycr Identification Number                                Year/Period Endt.d

       Edward J. & Shannon L. Duffy                                                                                       2009 2010

      17.a. Accuracy-Related Penalty - IRC §6662(a)

                                Tax Period                                                 Per Exam               Adjustment
                                     2009                                                  $7,942.80               $7,942.80
                                     2010                                                  $8,093.80               $8,093.80

      You are liable for the accuracy-related penalty imposed under section 6662 of the Internal Revenue Code. You
      have not shown you had reasonable cause for the underpayment of tax or any exceptions to the penalty. The
      penalty is twenty percent (20%) of the portion of the underpayment of tax attributable to each component of this
      penalty. In addition, interest is computed on this penalty from the due date of the return (ineludlng any
      extensions).

      Substantial Understatement of Income Tax
      It is determined that all or a portion of the underpayment of tax is a substantial understatement of income tax,
      since the resulting understatement of tax exceeds the greater of ten percent (10%) of the tax required to be
      shown on the return or $5,000.

      Negligence
      In the alternative, it is determined that all or a portion of the underpayment of tax is due to negligence. Negligence
      Is defined iis a failure to make a reasonable attempt to comply with the provisions of the Internal Revenue Code
      or to exercise ordinary and reasonable care in the preparation of a tax return. It also includes a failure to keep
      proper books and records or to properly substantiate claimed Items. ·                                            ·




                                                                                            Department Of the Treasury• lntoma1 Revenue service
       Form 886-A (1-1994)




    In Re Duffy,                       Motion for Relief from Stay Exhibit 1, Page 15 of 58
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                                                                                                         Schedule number or exhibit
  Fonn886-A
  (Rev. January
  1994)886-A
                                          EXPLANATION OF ITEMS
  Name ofTaxpaycr                                  Taxpayer Jden1if1Cation Number                               Year/Period Ended

  Edward J. & Shannon L. Duffy                                                                             201120122013 2014


  1.a. Other Income - Debt Forgiven

                             Tax Period        PerRetum                           Per Exam                Adjustment
                                  2011        $626,046.00                       $734,707.00              $108,661.00
                                  2013          $1,000.00                       $392,532.00              $391,532.00

  The amount of your debt which was cancelled or forgiven is includible in income. The above adjustment to tax
  year 2011 includes the amount of accrued unpaid interest, which was also forgiven. The above adjustment to tax
  year 2013 was reported by Wells Fargo Bank N.A. on Form 1099-C.

  You did not qualify to exclude the cancellation of debt income under the exceptions of IRC Section 108(a), which
  includes the insolvency exception and the principal residence exception. Thus, the above amounts for tax years
  2011 and 2013 are includible as cancellation of debt income.


  1.b. Sch E1 • Real Estate Loss After Passive Limitation

                             Tax Period         Per Return                          Per Exam              Adjustment
                                  2011       ($199,875.00)                              $0.00            $199,875.00

  Since we determined that the property located at 202 3rd Street in Gearhart, OR is a personal residence,
  suspended passive losses are not allowed on the disposition of the property.


  1.c. Sch C2 • Car and Truck Expenses

                             Tax Period         Per Return                          Per Exam              Adjustment
                                  2011           $4,380.00                          $2,700.00              $1,680.00

  Since you did not establish that the full amount of the business expense shown on your tax return was paid or
  incurred during the taxable year and that the expense was ordinary and necessary to your business, we have
  disallowed the amount shown. We have adjusted the expense to the amount verified based on the information
  provided by you. We figured your allowable deduction for business use of your automobile at the standard
  business mileage rate.


  1.d. Sch C2 - Travel
                             Tax Period         Per Return                          Per Exam               Adjustment
                                  2011           $6,365.00                          $5,822.00                 $543.00

  Since you did not establish that the full amount of the business expense shown on your tax return was paid or
  incurred during the taxable year and that the expense was ordinary and necessary to your business, we have
  disallowed the amount shown. We have adjusted the expense to the amount verified based on the information
  provided by you .


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                                                                                    Department of the Treasury-lntemal Revenue Service
  Fonn    886-A (1-1894)




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   Form886-A
   (Rev.January                           EXPLANATION OF ITEMS
   1994JBSM                                                                                                                2
   Name orTaxpayer                                  Taxpayer Identification Number                                  Yew'Pcriod Ended

   Edward J. & Shannon L. Duffy                                                                               20112012 2013 2014
                                                                                                            -·

   1.e. Other Gains or·Losses From Form 4797

                             Tax Period          PerRetum                             Per Exam               Adjustment
                                  2011        ($971,988.00)                               $0.00             $971,988.00

   Since we determined that the property located at 202 3rd Street in Gearhart, OR is a personal residence, there is
   no loss allowed on the disposition of the property.

   Alternatively, based on the documentation you provided, the basis amount of the property, and the resulting loss,
   has been recomputed. The $971,9_88 reported loss should be reduced to a loss of $663,349.


   1.f. Itemized Deductions - Total

                             Tax Period          Per Return                           Per Exam                Adjustment
                                  2011           $61,433.00                          $52,914.00                $8,519.00
                                  2012           $33,525.00                          $25,520.00                $8,005.00
                                  2013           $48,323.00                          $18,290.00               $30,033.00
                                  2014           $45,066.00                          $44,902.00                  $164.00

   Only the amount of medical expenses that exceeds a certain percentage of your adjusted gross Income is
   deductible. Since your adjusted gross income has been changed, we have adjusted your medical expense
   deduction as shown In the accompanying computation.

   Certain expenses deducted as miscellaneous itemized deductions are only deductible to the extent that they
   exceed a percentage of your adjusted gross income. Since we have made other changes in this report which
   affect your adjusted gross income, we have also adjusted these expenses.


   1.f. Itemized Deductions - Real Estate Taxes

                             Tax Period          PerRetum                             Per Exam                 Adjustment
                                  2011            $4,330.00                           $2,756.00                 $1,574.00

   Since $1,574ofthe 2011 real estate taxes that you paid for the 202 3rd street property located in Gearhart, OR
   are allocated to the buyer of the property, the above adjustment is required. The amount was reported by Ticor
   Trtle Co of OR-Tillamook Manzanita on Form 1099,S.




                                                                                       Department of the Trea5ury - Internal Revenue ServJce
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                                                                                                              Schedule number or exhibit
  Fonn886-A
  (Rev. January
  1994)886-A
                                            EXPLANATION OF ITEMS                                                             3

  Name ofTaxpa~                                      Taxpayer ldentiftcalion Number

  Edward J. & Shannon L. Duffy                                                                                  2011 2012 2013 2014


  1.g. Sch E • Inc/Loss • Partnership

                               Tax Period          Per Return                       Per Exam                  Adjuslment
                                    2012         ($85,777.00)                     $175,964.00                $261,741.00
                                    2013        ($120,383.00)                     $218,182.00                $338,565.00
                                    2014        ($114,253.00)                      $25,082.00                $139,335.00

  ;ince you did not establish that you had sufficient partnership basis to claim the reported Impact Medical LLC
  µsses, the losses have been disallowed. The above per exam amounts are the guaranteed payments reported on
   our Schedules K-1. The UPE amounts are disallowed as you did not establish that the partnership agreement
  equires the partners to pay partnership expenses.

  , ltematively, if it is established that you meet the insolvency exception under IRC Section 108(a), the excluded
   :ancellation of debt income would reduce your tax attributes in 2011 and 2013. The reduction of tax attributes
  l1cludes reducing the basis of your property (including your partnership interest) under IRC Section 108(b)(2)(E).


   •h. State Refunds, Credits, or Offsets

                               Tax Period         PerRetum                             Per Exam                Adjustment
                                    2012              $0.00                           $28,643.00               $28,643.00

     'e have adjusted your income to Include the amount shown ofForm 1099-G, as reported by Oregon
     epartment of Revenue. A refund of any part of your state income tax that you deducted in prior years, and whleh
  1 iduced your federal income tax in those years, is lncludible in income In the year you received the refund .



   •i. SE AGI Adjustment

                               Tax Period          PerRetum                            Per Exam                Adjustment
                                    2012               $0.00                           $9,181.00               ($9,181.00)
                                    2013               $0.00                           $9,971.00               ($9,971.00)
                                    2014               $0.00                           $1,772.00               ($1,772.00)

  · our self-employment tax for the 2012 tax year has changed as a result of adjustments made to your.net earnings
    om self-employment as shown In this report. The self-employment tax deduction has been adjusted based on
    ie recomputed amount of tax as follows:
  I the recomputed self-employment tax is $14,643.30 or less, the deduction is 57.51% of the recomputed self-
  Employment tax. If the recomputed self-employment tax is more than $14,643.30, the deduction Is 50% of the
  r ~computed self-employment tax plus $1,100.00.
  ' our self-employment tax has changed as a result of adjustments made to your net earnings from self-
  E mployment as shown in this report. The self-employment tax deduction has been adjusted to one-half of the
  ~ computed amount.




                                                                                        Department of the Treasury - Internal Revenu& Servfce
  F   Jffl   886-A (1-1994)




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       Form886-A                                                                                                  Schedule number or e11hibi1
       (Rev. January
       1994)886-A                             EXPLANATION OF ITEMS                                                               4
       Name ofTaxpaycr                                   Taxpayer Identification Number                                  Year/Period Ended

       Edward J. & Shannon L. Duffy
                                                                                                                  _ 2011 201i 201J 2!)J4_
     -I----========'=======-=·=====±====::::::::==::==::-=--~
       1.j. Exemptions

                                 Tax Period          Per Return                            Per Exam                Adjustment
                                      2013           $23,400.00                                $0.00               $23,400.00

       The amount you can claim for your exemptions is reduced if your income is more than the dollar limit for your
       filing status. Your income is more than that limit, so we reduced the amount you can claim. We have attached a
       Personal Exemption Worksheet to show you how we figured the change.


       6. Alt Min Tax

                                Tax Period            Per Return                           Per Exam                Adjustment
                                     2012                  $0.00                            $140.00                   $140.00
      You have an alternative minimum tax liability only if your tentative minimum tax exceeds your regular tax liability.
      Tentative minimum tax is computed by first calculating your alternative minimum taxable income, which equals
      your regular taxable income increased by any tax preference items for the taxable year, and Increased or
      decreased by adjustment Items for the taxable year. Alternative minimum taxable income is then reduced by an
      exemption amount determined by filing status, which is subject to phase-out depending on the amount of your
      alternative minimum taxable income. The Married Filing Joint exemption amount for tax year 2012 is $78,750.

       For taxable years after 1992, the remaining amount is subject to a 26 percent tax rate on the first $175,000 and
       28 percent tax rate on any amount in excess of $175,000. A tentative minimum tax is then computed by reducing
       the amount determined in the preceding sentence by any allowable foreign tax credit. The alternative minimum
       tax liability is the amount by which tentative minimum tax exceeds regular tax liability.


        O.b. Self Employment Tax

                                Tax Period           PerRetum                              Per Exam                Adjustment
                                     2012                $0.00                            $16,163.00               $16,163.00
                                     2013                $0.00                            $19,942.00               $19,942.00
                                     2014                $0.00                             $3,544.00                $3,544.00

       Ne have adjusted your self-employment tax due to a change in your net earnings from self-employment.




      F•rm   886-A (1-1994)                                                                Department Of the Treasury- Internal Revenue Service




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    Form886-A                                                                                                Schedule number or exhibit
    (R•v. J11nuary                         EXPLANATION OF ITEMS
    1994)886-A                                                                                                              5

    Name ofTaxpayer                                   Taxpayer Identification Number                                 y em/Period Ended

    Edward J. & Shannon L. Duffy                                                                               201120122013 2014
~-t=_:;:::;_==========b:==---------..1.-~~-~~--.......-...--~----~--,
    13.a. American Opportunity Education Credit

                              Tax Period           Per Return                           Per Exam              Adjustment
                                   2012                $90.00                               $0.00               ($90.00)
                                   2013                $90.00                               $0.00               ($90.00)

    The amount you can claim for the American opportunity education credit Is reduced if your income is more than
    he dollar limit for your filing status. Your income is more than that limi~ so we reduced the amount you can claim.
    ;ee also attached computation schedules.


     3.c. AddHlonal Chlld Tax Credit

                              Tax Period           PerRetum                            Per Exam               Adjustment
                                   2011              $436.00                               $0.00               ($436.00)
                                   2014                $0.00                           $2,000.00               $2,000.00

       ecause we changed your adjusted gross income and tax liability, we have also adjusted your additional child tax
    , '"8(lit accordingly. See attached computation schedules.


     7.a. Accuracy-Related Penalty - IRC §6662(a)

                              Tax Period                                                Per Exam              Adjustment
                                   2011                                                $63,716.00             $63,716.00
                                   2012                                                $11,804.40             $11,804.40
                                   2013                                                $39,647.80             $39,647.80
                                   2014                                                  $108.80                 $108.80

    Y iu are liable for the accuracy-related penalty imposed under section 6662 of the Internal_ Revenue Code. You
    h ve not shown you had reasonable cause for the underpayment of tax or any exceptions to the penalty. The
    p •nalty is twenty percent (20%) of the portion of the underpayment of tax attributable to each component of this
    p nalty. In addition, interest is· computed on this penalty from the due date of the return (including any
    e :tensions).

    S bstantial Understatement of Income Tax
    It s determined that all or a portion of the underpayment of tax is a substantial understatement of income tax,
    slice the resulting understatement of tax exceeds the greater of ten percent (10%) of the tax required to be
    sl own on the return or $5,000.

    N nlioence
    In the alternative, it is determined that all or a portion of the underpayment of tax is due to negligence. Negligence
    is lefined as a failure to make a reasonable attempt to comply with the provisions of the Internal Revenue Code
    or to exercise ordinary and reasonable care in the preparation of a tax return. It also includes a failure to keep
    pr per books and records or to properly substantiate claimed items.



                                                                                        Department of the Treasury lntemal Revenue Service
    Fon , 886-A (1-1994)
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   •



           Name of Taxpayer.      Edward J. & Shannon L. Duffy                                           01/12/2016
           Identification Number.                                               . Total                    16.20.00

                                           2009 • SCHEDULE A • ITEMIZED DEDUCTIONS

                                                               PER RETURN                 PER EXAM     ADJUSTMENT

        1. Medical, dental and insurance premiums                       0.00                   0.00           0.00
        2. 7.5% of adjusted gross Income                                0.00              20.663.93
        3. Net medical and dental expenses                              0.00                   0.00           0.00
        4. Taxes                                                   25.127.00              25.127.00           0.00
        5. Home interest expense                                   60,508.00              60.SOS.OO           0.00
        6. Qualified mor1gage insurance premiums                        0.00                   0.00           0.00
        7. Investment inteTBSt                                         14.00                  14.00           0.00
        8. Other interest expense                                       0.00                   0.00           o.<io
        9. Tola! interest expense                                  60,522.00              60.S22.00           0.00
       10. Contributions                                            6.040.00               6.040.00           0.00
       11. Casualty and theft losses                                    0.00                   0.00           0.00
       12. Miscellaneous deductions                                20.869.00              20.869.00           0.00
       13. 2% of adjusted gross Income                                  0.00               S.510.00
       14. Excess miscellaneous deductions                         20.869.00              IS.359.00       S.510.00
       15. Other miscellaneous deductions                               0.00                   0.00           0.00
       16. Tola! Itemized deductions
            (Sum of lines 3, 4, 9,
             10, 11, 14, and 15 less
             any applicable limitation)                            112.558.00             105.961.00       6.597.00

          ITEMIZED DEDUCTIONS WORKSHEET· PER EXAM

       A. Total of lines 3, 4, 9, 10, 11, 14, and 15                                                     107.048.00
       B. To1eloflines3, 7, 11,(plusanygambllng
           losses Included on line 15)                                                                        14.00
       C. Line A less tine B                                                                             107.034.00
       D. Multiply the amount on line C by 80%                                                            85.627.00
       E. Adjusted gross income                                                                          275.519.00
       F. Itemized deduction !Imitation                                                                  166.800.00
       G. Line E less line F                                                                             108.719.00
       H. Multiply the amount on line G by 3%                                                              3.262.00
        I. Enter the smaller of line O or line H                                                           3.262.00
       J. Divide line I by 1.5                                                                             2.174.67
       K. Subtract line J from line t                                                                      1.087.33
       L ..Tolel Itemized deductions (eritered on line 16 above)                                         105.961.00




In Re Duffy,                        Motion for Relief from Stay Exhibit 1, Page 21 of 58
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                                         ('




            Name ofTaxpayer.      Edward J. & Shannon L. Duffy                                   01112/2016
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                                                                                                          .. _._- ...

                                          2010 • SCHEDULE A• ITEMIZED DEDUCTIONS

                                                           PER RETURN        PER EXAM        ADJUSTMENT
         1. Medical, dental and Insurance premiums                4.687.00      4.687.00             0.00
         2. 7.5% of adjusted gross income                         8.106.00     19.974.30
         3. Net medical and dental expenses                           o.oo          0.00             0.00
         4. Taxes
                                                                 21.399.00    21.399.00              0.00
         5. Home lntarest expensa                                6M15.00      60.415.00              0.00
        6. Qualified mortgage insurance premiums                      0.00          0.00             0.00
        7. Investment interest                                        o.oo          0.00             0.00
        8. Other interest expensa                                     0.00          0.00             0.00
        9. Total interest expense                                60.415.00    60.415.00              0.00
       10. Contributions                                          8.197.00     8.197.00              0.00
       11. casualty and theft losses
       12. Miscellaneous deductions
                                                                      0.00         o.oo              0.00
                                                                 17.022.00    17.022.00              0.00
       13. 2% of adjusted gross income                            2.162.00     5.326.00
       14. Excess mlscellaneous deductiOns                       14.860.00    11.696.00          3.164.00
       15. Other miscellaneous deductions                             0.00         0.00              0.00
       18. Total Itemized deductions
            (Sum of lines 3. 4, 9,
             10, 11, 14, and 15)                             104.871.00      101.707.00          3.164.00




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      Name of Taxpayer:            Edward J. & Shannon L. Duffv                           01112/2016
   -='=de;;n,;;fl,,:fica;;;tl=o=n=N=u=m=b=er.:,:,·====,;=========T;,;o;;ta::,l____________.....;.1..ia§.==~:,0,.:;.:09 ___ ~·~-"

                                          2009 • PERSONAL EXEMPTION WORKSHEET

         1. Maximum additional exemption amount                                                           2,000.00
         2. Amount from prior year's Form 8914, line 2
         3. Subtract line 2 from line f
         4. MulUply $500 by the total number of displaced Individuals listed in Part I of Form 8914           o.oo
            (Maximum amount is $2,000; $1,000 if married filing separately)
         5. Smaller of line 3 or line 4
         6. MulUply $ 3,650.00 by the total number of exemptions claimed                                 21,900.00
         7. Add lines 5 and 6
         B. Adjusted gross income                                                                       275,519.00
         9. Limitation based on filing status                                                           250,200.00
            NOTE: If line 8 is not greater than line 9, STOP;
            enter amount from line 7 on line 17 below
        10. Subtract line 9 from line 8                                                                  25,319.00
        11. If line 10 is more than $122,500 ($61,250 if married filing separately),                          0.00
            multiply$ 2,433.00 by the total number of exemptions claimed;
            otherwise, skip line 12 and go to line 13
        12. Add lines 5 and 11 and enter the amount on line 17 below:                                        0.00
            do not complete the rest of the worksheet
                                                                                                            11.00
        13. Divide line 10 by $2,500 ($1,250 if married filing separately)
            (If result Is not a whole number, Increase to next whole number)
        14. Multiply line 13 by 2% and enter the result as a decimal rounded to at least three places         0.22
        15. Multiply line 6 by line 14                                                                    4,818.00
        16. Divide line 15 by 3.0                                                                         1,606.00
        17. Deduction for exemptions                                                                     20,294.00
            (subtract line 16 from line 7; or the amount from line 9 or line 12 above)




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                                        (




            Name of Taxpayer.      Edward J. & Shannon L. Duffy                                01/12/2016
            Identification Number.
   ------                                                                   •laL---------~-l-6.,!0;{)0----· -


                              2009 • Fonn 6251 • Alternative Minimum Tax Computation

         1. II filing Schedule A. enter taxable Income before exemptions:
             otherwise, enter adjusted gross income                                                      169,558.00
        2. Total adjustment and preferences (excluding any NOL deduction)                               . 39.399.00
        3. Net operating loss deduction                                                                  274,002.00
        4. Alternative tax net operating loss deduction                                               (274.002.00)
        5. Alternative minimum taxable income (combine lines 1 thru 4)                                  208.957.00
        6. Exj>mption amount                                                                              56,211.00
        7. Stibtract line 6 from line 5 Qf zero or less, enter zero}                                     152,746.00
        8. If capital gains are reported, see line 19 from continuation page
            (If FEIT worksheet for AMT is used, enter amount from line 6 of that worksheet Instead}
            All others:
            If line 7 is $175,000 or less ($87,500 if MFS} multiply
            line 7 by 26%. Otherwise, multiply line 7 by 28% end
            subtract $3,500 ($1,750 if MFS) from the result                                             39.714.00
        9. Alternative minimum tax foreign tax credit                                                         o.oo
       10. Tentative minimum tax (line 8 less line 9)                                                   39,714.00
       11. Regular tax before credits (if Schedule J wss used to figure tax,
            use the refigured amounts for lines 44 and 47 of Form 1040
            without using Schedule J)                                                                   30,057.00
       12. A!tematlve minimum tax                                                                        9,657.00

           Exemption Worksheet (line 6 above)

        A. Exemption amount based on filing status                                                      70,950.00
        8. Alternative minimum taxable income                                                          208.957.00
        C. Enter $112,500 ($150,000 if married filing jointly or
           qualifying widow(er), $75,000 ii married filing separately)                                 150,000.00
        0. Subtract line C from line B                                                                  58,957.00
        E. Multlply line O by 25%                                                                       14.739.00
        F. Subtract line E from line A (if zero or less. enter zero)                                    56.211.00




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           Name ofTaxpayer:  Edward J. & Shannon L. Duffy                                                01/12/2016
-1-----hffmtification Number. ·             ---~----.,l"'o"ta""I______                                    ·16.~0.00·----


                  2009 - Form 6251 • Continuation, Tax Computation Using Maximum Capital Gain Ral88

         1. Amount from Form 6251 report, line 7                                                         152,746.00
              (If FEIT worksheet for AMT was used, enter amount from line 3 of that worksheet instead)
         2. Amount from line 6 Qualified Dividends and Capital Gain Tax Worksheet
             or line 13 Schedule D Tax WorkSheet (refigured for AMT)                                           0.00
         3. Amount from Schedule D line 18 (refigured for AMT)                                                 0.00
         4. Amount from line 2 if no Schedule D worksheet otherwise, the smaller of
             the sum of line 2 and line 3 or Schedule D worksheet line 1o (reflgured for AMT)                  0.00
         5. Smaller of line 1 or line 4                                                                        0.00
         6. Subtract line 5 from line 1                                                                  152,746.00
         7. If line 6 ls $175,000 or less ($87,500 if MFS) multiply line 6 by 26%;
             otherwise, multiply line 6 by 28% and subtract $3,500 ($1,750 ii MFS)
             from the result                                                                              39,714.00
         8. Enter:
             $67,900 if marlied filing jolnlly or qualifying widow(er)
             $33,950 if single or merlied filing separately                                               67,900.00
             $45,500 If head of household
         9. Amount from line 7 Qualified Dividends and Capital Gain Tax Worksheet
             or line 14 Schedule D Tax Worksheet                                                               0.00
        10. Subtract line 8 from line 8 (If zero or less. enter zero)                                     67,900.00
        11. Smaller of line 1 or line 2                                                                        0.00
        12. Smaller of line 10 or line 11                                                                      0.00
        13. Subtract line 12 from line 11                                                                      0.00
        14. Multiply line 13 by 15%                                                                            0.00
        15. Subtract line 11 from line 5                                                                       0.00
        16. Multiply line 15 by 25%                                                                            0.00
        17. Total of lines 7, 14 and 16                                                                   39,714.00
        18. If line 1.ls $175,000 or less ($87,500 if MFS) multiply line 1 by 26%;
             otherwise, multiply line 1 by 28% and s,ubtract $3,500 ($1,750 ilMFS)
             from the result                                                                              39,714.00
        19. Smaller of line 17 or line 18. Enter here and on line 8 of Form 6251 report                   39,714.00




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                                                                                            (




           Name of Taxpayer.      Edward 1. & Shannon L. Duffy                                         01/12/2016
           Identification Number.                                         Total                          -,l6 20,00 - ~ • a


                             2010 • Form 6261 ·Alternatlve Minimum Tax Computation

        1. If filing Schedule A, enter taxable income before exemptions;
             olhelWise, enter adjusted gross income                                                     164.617.00
        2. Total adjustment and preferences (excluding any NOL deduction)                                33,095.00
        3. Net operating loss deduction                                                                 144,268.00
        4. Altemative tax net opereting loss deduction                                                (144,268.00)
        5. Alternative minimum taxable income (combine lines 1 thru 4)                                  197,712.00
        6. Exemption amount                                                                              60.S22.00
        7. Subtrect line 6 from line 5 (if zero or less, enter zero)                                    137.190.00
        6. If capital gains are reported, see line 19 from continuation page
            (If FEIT worksheet for AMT is used, enter amount from line 6 of that worksheet instead)
            All others:
            If line 7 is $175,000 or less ($87,500 If MFS) multiply
            line 7 by 26%. Otherwise, muttiply line 7 by 28% and
            subtract $3,500 ($1,750 if MFSJ from the result                                             35.669.00
        9. Alternative minimum tax foreign tax credit                                                        0.00
       10. Tentative minimum tax (line 6 less line 9)                                                   35,669.00
       11. Regular tax before credits (If Schedule J was used to figure tax,
           use the refigurad amounts for lines 44 and 47 of Form 1040
           without using Schedule J)                                                                    28,204.00
       12. Alternative minimum tax                                                                       7.465.00

           Exemption Worksheet (llne 6 above)

       A Exemption amount based on filing status                                                        72.450.00
       B. Alternative minimum taxable Income                                                           197.712.00
       C. Enter $112,500 ($150,000 if married filing joinUy or
          qualifying widow(er), $75,000 if married filing separately)                                  IS0.000.00
       D; Subtract line C from line B                                                                   47,712.00
       E. Muttiply line D by 25%                                                                        11,928.00
       F. Subtract line E from line A (if zero or less, enter zero)                                     60,522.00




In Re Duffy,                     Motion for Relief from Stay Exhibit 1, Page 26 of 58
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           Name ofTaxpayer:    Edward 1. & Shannon L. Duffy                                 01/12/2016
       ·   ldenbhcation Number:·                      ------;:T,..o,.-ta._.1--·~-~- - - - ~    16.20.00



                2010 • Fonn 6261 • Contlnuatlon, Tax Computation Using Maximum Capital Gain Rates

        1. Amount from Form 6251 report, line 7                                                         137,190.00
             (If FEIT worksheet for AMT was used, enter amount from line 3 of that worksheet Instead)
        2. Amount from line 6 Qualified Dividends and Capital Gain Tax Worksheet
            or line 13 Schedule D Tax Worksheet (refigured for AMT)                                          0.00
        3. Amount from Schedule D line 19 (refigured for AMT)                                                0.00
       4. Amount from line 2 If no Schedule D worksheet; otherwise, the smaller of
            the sum of line 2 and line 3 or Schedule D worksheet line 10 (refigured for AMT)                  0.00
       5. Smeller of line 1 or line 4                                                                         0.00
       6. Subtract line 5 from line 1                                                                   137,190.00
       "7. lfline 6 ls $175,000or less ($87,500 II MFS) multiply line 6 by 26%;
            otherwise, multiply tine 6 by 28% and subtract $3,500 ($1,750 ii MFS)
            from the result                                                                             35,669.00
       8. Enter:
            $68,000 if married filing JoinUy or qualifying widow(er)
            $34,000 II single or married filing separately .                                            68,000.00
            $45,550 if head of household
       9. Amount from line 7 Qualified Dividends and Capital Gain Tax Worksheet
            or tine 14 Schedule D Tax Worksheet                                                               0.00
      10. Subtract line 9 from line 8 (ii zero or less, enter zero)                                      68,000.00
      11. Smaller ofllne 1 or line 2                                                                          0.00
      12. Smaller of line 10 or line 11                                                                       0.00
      13. Subtract line 12 from line 11                                                                       0.00
      14. Multiply line 13 by 15%                                                                             0.00
      15. Subtract line 11 from line 5                                                                        0.00
      18. Muttiply line 15 by 25%                                                                             0.00
      17. Total of lines 7, 14 and 16                                                                    35,669.00
      18. If line 1 is $175,000 or less ($87,500 if MFS) multiply line 1 by 26%;
            otherwise, multlply line 1 by 28% and subtract $3,500 ($1,750 If MFS)
            from the result                                                                              35,669.00
      19. Smaller olline 17 or line 18. Enter here·and on line 8 of Form 6251 report                     35,669.00




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    Fonn886-A
   "'ev. Jann•~• 1994\
   Name of Taxpayer
                               I                EXPLANATION OF ITEMS
                                                                                                      Schedule number or exhibit

                                                                                                      Year/Period ended
                     Duffy, Edward J. & Shannon L.




   Adjusbnent(s) to Prepayment Credil(s) Subject to
   Deficiency (Form 4549 series Line 13a or Form
   5278 Line 20a):                                                                2009                      2010


    Make work pay/government retiree credit                                    (800.00)              (800.00)




    Total Adjustment Amount:                                                   (800.00)               (800.00)



    AdjUSbnent(s) to Prepayment Credil(s) Not
    Subject to Deficiency (Form 4549 series Line 15
    or Form 5278 Line 22):                                                         2009                     2010




    Total Adjusbnent Amount:
                                                                                                                   .




    Form 886-A (J-1994)                               Department of the Treasury-Internal Revenue Service




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           Name of Taxpayer: Edward 1. & Shannon L. Duffy                                         01/12/2016
           Identification Number. ·                                 Total                           16.20.00


               2009    - MAKING WORK PAY AND GOVERNMENT RETIREE CREDITS.

        1a. Ea med Income amount (if current year wages are more than minimum amount,
             skip lines 1a through 3 and enter $400 on line 4 ($800 if married filing jolntty))   261,167.00
        1b. Nontaxable combat pay Included In line 1a                                                   0.00
         2. Multiply line 1a by .062                                                               16,192.00
         3. Enter $400 ($800 If married filing Jointly)                                               800.00
         4. Smaller of line 2 or line 3                                                               800.00
         5. Adjusted gross income                                                                 275,519.00
         6. Enter $75,000 ($150,000 If married filing jointly)                                    150,000.00
         7. Subtract line 6 from line 5 (if zero or less, skip line 8)                            125,519.00
         8. MulUply line 7 by .02                                                                   2,510.00
         9. Subtract line 8 from line 4 (if zero or fess, enter -0-)                                    0.00
       1-0. Economic recovery payment amount received for current year                                  0.00
       11. Government pension payment amount received for current year                                  0.00
       12. Add lines 10 and 11                                                                          0.00
       13. Subtract line 12 from line 9 (if zero or less, enter -0-)                                    0.00
       14. Making work pay andgovemment retiree credtts (add lines 11 and 13)                           0.00




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            Name of Taxpayer: Edward J. & ShannonL. Duffy
                                                                             01/12/2016
            Identification Number:
                                               -----~~o~te~l------------~~6.20.00~·~-


                                                       2010 • MAKING WORK PAY CREDIT

       1a. Earned income amount (•see below)                                                                             202,356.00
       1b. Nontaxable ccmbat pay Included In nne 1a                                                                            0.00
        2. Multiply tine 1a by .062                                                                                       12.S46.00
        3. Enter $400 ($800 If married filing JolnUy)                                                                        800.00
        4. Smaller of line 2 or line 3                                                                                       800.00
        5. Adjusted gross income                                                                                         266.324.00
        6. Enter $75,000 ($150,000 If married filing Jointly)                                                            lS0.000.00
        7. Subtract line 6 from line 5 (ffzero or less, skip line 8 and enter amount from line 4 on line .8)             116.324.00
        8. Multiply tine 7 by .02                                                                                          2.326.00
        9. Subtracl line 8 from line 4 (If zero or less, enter-0.)                                                                0.00
       10. Economic recovery payment amount received for current year                                                             0.00
       11. Making work pay credit. Subtract line 10 from line 9 (ff zero or less, enter-0.)                                       0.00



           • Enter ea med Income amount on line 1a if any of the following conditions apply:
                Net loss from business;
                Taxable scholarship or fellowship grant not reported on Form W-2;
                Wages Include pay for work performed while an Inmate In a penal tnslitu11on;
                Received pension or annuity from a nonqualifi&d deferred compensation plan or nongovernmental section 457 plan;
                Finns Form 2555 or 2555-EZ.
            If current year wages are more than minimum amount. skip lines 1a through 3 and enter $400
               ($800 If manied filing Jointly} on llne 4 and go to line 5; otherwise, enter ea med income amount on line 1a




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           Name of Taxpayer: Edward J. & Shannon L. Duffy                                             01/12/2016
           Identification Number:                        Total                                           16.20.00

                                  2009 - Child Tax Credit and Form 8812 Additional Chlld Tax Credit

          1. Amount of credit based on qualifying children                                              4,000.00
          2. Modified AGI                                                                             215.519.00
          3. Limitation based on filing status ($1 '10,000 If married fifing Jointly;                 110.000.00
             $75,000 If single, head of household, or qualifying widow(er);
             $55,000 If married fillng separate)
         4. Subtract line 3 from line 2 (if zero or less, enter-0·)                                   166,000.00
         5. Multiply line 4 by .05                                                                      8,300.00
         6. Subtract line 5 from line 1 (If zero or less, no credit is allowed)                             0.00
         7. Corrected tax before allowable credits                                                          0.00.
         8. Credit limitation                                                                               0.00
         9. Subtract line 8 from line 7                                                                     0.00
        10. Child tax credit (smaller of lines 6 or 9)                                                      0.00


                                  Form 8812 -Additional Chlld Tax Credit

        1. Amount from line 1 above (or amount of credit after modified AGI reduction)                      0.00
        2. Child tax credit allowed (llne 1Oabove)                                                          0.00
        3. Subtract llne 2 from llne 1 (if zero or less, no credit is allowed)                              0.00
       4a. Earned Income
       4b. Nontaxable combat pay included on line 4a
        5. If the amount on line 4a is more than$3,000, subtract $3,000from line 4a
           (if line 4a is less than$3,000, then line 5 equals zero)
        6. Multiply the amount on line 5 by 15%
        7. Enter the total of the withheld social security and Medicare taxes
        8. One-half of self-employment tax, plus FICA tax on tips and uncollected
           social security, Medicare, or RRTA taxes
        9. Total of line 7 and line 8
       10. Earned income credit and excess social security and RRTA taxes withheld
       11. Subtract line 10 from line 9 (if zero or less, enter -0·)
       12. Larger ofline 6 or line 11
       13. Additional child tax credit (smaller of lines 3 or 12)




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              Name of Taxpayer: Edward J. & Shannon L. Duft\,                                        01/1212016
              Identification Number:                        Total                                     ..16.2rut0 - - - -

                                 2010 • Child Tax Credit and Form 8812 Additional Chlld Tax Credit

          1. Amount of credit based on qualifying children                                             4,000.00
          2. Modified AGI                                                                            266,324.00
          3. Limitation based on filing status ($110,000 If married filing jolnUy;                   110,000.00
             $75,000 If single, head of household, or qualifying Widow(er);
             $55,000 If married filing separate)
         4, Subtract line 3 from line 2 (If zero or less, enter-0-)                                  157,000.00
         5. Multiply line 4 by .05                                                                     7,850.00
         6. Subtract line 5 from line 1 (If zero or less, no credit Is allowed)                            0.00
         7. Corrected tax before allowable credits                                                         0.00
         8. Credit limitation                                                                              0.00
         9. Subtract line 8 from line 7                                                                    0.00
        10. Child tax ~dlt (smaller of lines 6 or 9)                                                       0.00


                                 Form 8812 • Additional Chlld Tax Credit

         1. Amount from line 1 above (or amount of credit after modified AGI reduction)                    0.00
         2. Child tax credit allowed (line 1o above)                                                       0.00
         3. Subtract line 2 from line 1 (if zero or less, no credit Is allowed)                            0.00
        4a. Eamed Income
        4b. Nontaxable combat pay Included on line 4a
         5. If the amount on line 4a Is more than$3,000, subtract $3,000from line 4a
            (If line 4a is less than$3,000, then line 5 equals zero)
         6. Multiply the amount on line 5 by 15%
         7. Enter the total of the withheld social security and Medicare taxes
         8. One-half of self-employment tax, plus FICA tax on tips and uncollected
            social security, Medicare, or RRTA taxes
         9. Total of line 7 and line 8
        10. Eamed Income credit and excess social security and RRTA taxes withheld
        11. Subtract line 10 from line 9 (if zero or less, enter-0-)
        12. Larger ofline 6 or line 11
        13. Additional child tax credit (smaller of lines 3 or 12)




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         Name of Taxpayer.      Edward J. & Shannon L. Duffy                                          Page       of
         Identification Number.                          Total                                        Tax Period Ending: 12131/2009


                                           Accuracy-Related PenalUes under IRC 6882

         20 Percent Penalty• Internal Revenue Code Section 8662(a)

          It has been determined that the underpayment of tax shown on line 11_ below is attributable to one
          or more of the following:

           (1) Negligence or disregard of rules or regulations;
           (2) Substantial understatement of income tax;
           (3) Substantial valuation misstatement (overstatement);
           (4) Transaction lacking economic substance.

          Therefore, an addition to tax is imposed as provided by Section 6662(a) of the Internal Revenue Code.

           1. Total tax as corrected                                                                                    39,714.00
           2. Less: Total refundable credits as corrected                                                                    0.00
           3. Net tax due after allowable refundable credits                                                            39,714.00
              (Line 1 less line 2) (not less than 0.00)
           4. Total tax perretum                                                                                              0.00
           5. Total refundable credits per return                                                                         4,800.00
           6. Net tax less refundable credits per return                                                                      0.00
              (Line 4 less line 5) (not less than 0.00)
           7. Net tax due In excess of net tax per return                                                               39,714.00
              (Line 3 less line 6)
                                                                                                                             0.00
           8. Adjustments to prepayment credits - Increase (decrease)
                                                                                                                        39,714.00
           9. Tax due after adjustment to prepayment credHs (line 7 less line 8)
          10. Less: Refunds held in excess of refundable credits per return less tax per return
              10a. Frozen refunds                                                                         0.00
              10b. Refundable credits per return less tax per return (not less·than 0.00)             4,800.00
              10c. Net refunds held in excess of refundable credits per return less tax per return                            0.00
                   (Line 10a less line 10b) (not less than 0.00)
          11. Underpayment lo which Section 6662(a) applies                                                              39,714.00
              (Line 9 lees line 10c) (not less than 0.00)
          12. Applicable penalty rate                                                                                      20.00%
          13. Section 6662(a) accuracy-related penalty (line 11 multiplied by line 12)                                    7,942.80·
          14. Less: Previously assessed/previously agreed Section 6662(a) penalty                                             0.00
          15. Total Section 6662(a) accuracy-related penalty                                                              7,942.80
              (Line 13 lees line 14)




   RGS Version 16.20.00                  Date Tax ComputaUon Last Generated Ol/12120l6




In Re Duffy,                         Motion for Relief from Stay Exhibit 1, Page 33 of 58
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                                           r

          Name of Taxpayer.      Edward J. & Shannon L. Duffy                                       Page       of
          ldentificetion Number.                          Total                                     Tax Period Ending: 12/31/2010


                                            Accuracy-Related Penalties under IRC 8862

          20 Percent Penalty• Internal Revenue Coda Section 8862(a)

           II has been determined lhal 1he underpayment of tax shown on line 11 below Is attributable lo one
           or more of the following:

            (1) Negligence or disregard of rules or regulations;
            (2) Substantial understatement of Income tax;
            (3) Substantial valuation misstatement (overstatement);
            (4) Transaclion lacking economic substance.

           Therefore, an addition to tax is imposed as provided by Section 6662(a) of the lntemal Revenue Code.

           1. Total tax as corrected                                                                                  41,669.00
           2. Less: Total refundable credits as conecled                                                                   0.00
           3. Net tax due after allowable refundable credits                                                          41,669.00
              (Line 1 less line 2) (not less than 0.00)
           4. Total tax per return                                                                                     6,000.00
           5. Total refundable credits per rerum                                                                       4,800.00
           6. Net tax less refundable credits per return                                                               1,200.00
              (Line 4 less line 5) (not less than 0.00)
           7. Net tax due In excess of net tax per return                                                             40,469.00
               (Line 3 less line 6)
           8. Adjustments to prepayment credits - increase (dea-ease)                                                      0.00
           9. Tex due after adjustment to prepayment credits (line 7 less line 8)                                     40,469.00
          10. Less: Refunds held in excess of refundable credits per retum less tax per retum
              1Oa. Frozen refunds                                                                      0.00
              10b. Refundable credits per retum I-tax per return (not less than 0.00)                  0.00
              10c. Ne! refunds held in excess of refundable credits per retum less tax per return                          0.00
                    (Line 108 less fine 10b) (not less than 0.00)
          11. Underpayment 10 which Section 6662(a) applies                                                           40,469.00
              (Line 9 less line 10c) (not less than 0.00)
          12. Applicable penalty rate                                                                                   20.00%
          13. Seclion 6662(a) accuracy-related penalty (line 11 muttiplted by line 12)                                 8,093.80
          14. Less: Previously assessed/previously agreed Section 6662(a) penalty                                          0.00
          15. Total Section 6662(a) accuracy-related penalty                                                           8,093.80
              (Line 13 less line 14)




   RGS Ver.,ion 16.20.00                 Date Tax ComputaUon Last Generated 01/1212016




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           Name o!Taxpayer.       Edward 1. & Shannon L. Duffy                                       01/13/2016
           ldentifu:ation Number.                                            Total                      16.20.00
                                                                                                 ·---~--   ·-------- -
                                         201 I • SCHEDULE A• ITEMIZED DEDUCTIONS

                                                           PER RETURN                PER EXAM      ADJUSTMENT

        1. Medical, dental and insurance premiums                17.185.00           17.185.00             0.00
        2. 7.5% of adjusted gross Income                              o.oo           80,263.35
        3. Net medical and dental expenses                       17.185.00                0.00        17.185.00
        4. Taxes                                                  S.703.00            4.129.00         l.574.00
        5. Home interest expense                                 36.481.00           36.481.00             0.00
        6. Qualified mortgage lnsuranoa premiums                      0.00                0.00             0.00
        7. Investment interest                                    l.584.00            l.584.00             0.00
        8. Other Interest expense                                     0.00                0.00             0.00
        9. Total interest expense                                38.065.00           38.065.00             0.00
       10. Ccnlributions                                              0.00           10.720.00      (10,720.00)
       11. Casualty and theft losses                                  0.00                0.00             0.00
       12. Miscellaneous deductions                                 480.00              480.00             0.00
       13. 2% of adjusted gross Income                                0.00           21.404.00
       14. Excess mlsoallanaous deductions                          480.00                0.00         -480.00
       15. Other miscellaneous deductions                             0.00                0.00            0.00
       16. Total itemized deductions
            (Sum of lines 3, 4, 9,
             10, 11, 14, and 15)                                 61.433.00           52.914.00        8.519.00




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           Name of Taxpayer.     Edward J. & Shannon L. Duffy                                        01/13/2016
           ldenUficallon Number.                                              Total                    16.20.00

                                         2012 • SCHEDULE A• ITEMIZED DEDUCTIONS

                                                          PER RETURN'                 PER EXAM     ADJUSTMENT

        1. Medical, dental and lnsuranoe premiums               10.939.00              10,939.00          0.00
        2. 7-5% of adjusted gross Income                             0.00              18.320.48
        3. Net medical and dental expenses                      10,939.00                   0.00      10,939.00
        4. Taxes                                                 5.887.00               5.887.00           0.00
        5. Home Interest expense                                14.720.00              14.720.00           0.00
        6. Qualified mortgage insuranoe premiums                     0.00.                  0.00           0.00
        7. Investment interest                                     569.00                 569.00           0.00
        s. Other interest expense                                    0.00                   0.00           0.00
        9. Tatel Interest expense                               15,289.00              15.289.00           0.00
       10. Contributions                                             0.00 ·             4,344.00     (4.344.00)
       11. casualty and theft losses                                 0.00.                  0.00           0.00
       12. Mlsoellaneoua deductions                              1.410.00 :             1,410.00           0.00
       13. 2% of adjusted gross irn:ome                              0.00               4,885.00
       14. Exoess miscellaneous deductions                       1.410.00 .                 0.00      1.410.00
       15. Other miscellaneous deductions                            0.00                   0.00          0.00
       16. Total itemized deductions
            (Sum of lines 3, 4, 9,
             10, 11, 14, and 15)                                33.S25.00              25,520.00      8.005.00




In Re Duffy,                     Motion for Relief from Stay Exhibit 1, Page 36 of 58
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            Name of Taxpayer.      Edward J. & Shannon L. Duffy                                       01/13/2016
            Identification Number. .                                           Total                     16.20.00

                                           2013 • SCHEDULE A• ITEMIZED DEDUCTIONS

                                                                PER RETURN             PER EXAM     ADJUSTMENT

       1. Medical, dental and insurance premiums                  23,687.00            23.687.00            0.00
       2. 10.0% of adjusted gross income                               0.00            60.074.10
       3. Net medical end dental expenses                         23.687.00                 0.00      23,687.00
       4. Taxes                                                    7.012.00             7.012.00           0.00
       5. Home interest expense                                   16,494.00            16,494.00           0.00
       6. Qualified mortgage Insurance premiums .                      0.00                 0.00           0.00
       7. Investment intarest                                          0.00                 0.00           0.00
       8. Other interest expense                                       0.00                 0.00           0.00
       9. Total interest expense                                  16,494.00            16,494.00            0.00
      10. Contributions                                                0.00             3,806.00      (3.806.00l
      11. Casualty and theft losses                                    0.00                  0.00           0.00
      12. Miscellaneous deductions                                 1.130.00             1,130.00            0.00
      13. 2% of adjusted gross Income                                  0.00            12.0IS.OO
      14. Excess miscellaneous deductions                          1.130.00                  0.00       1.130.00
      15. Other miscellaneous deductions                               0.00                  0.00           0.00
      16. Total ttemized deductions
           (Sum of fines 3, 4, 9,
            10, 11, 14, and 15 less
            any applicable limitation)                             48,323.00            18.290.00      30,033..00



      ITEMIZED DEDUCTIONS WORKSHEET • PER EXAM

      A Total of lines 3, 4, 9, 10, 11, 14, and 15 above                                               27.312.00
      B Total of lines 3, 7, end 11, (plus any gambling
        and casualty or theft losses on line 15 above)                                                      0.00
      C Line A less line B                                                                             27,312.00
      D Multiply the amount on line C by 80%                                                           21,850.00
      E Adjusted gross income                                                                         600.741.00
      F Itemized deduction limitation based on filing stallJs                                         300.000.00
      G Line E less line F                                                                            300.741.00
      H Multiply the amount on line G by 3%                                                             9.022.00
       IEnter the smaller of line D or line H                                                           9.022.00
      J Total itemi:r.ed deductions
        (Line A less Jina I, entered on
         line 16 per exam column above)                                                                18.290.00




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                 Name o!Taxpayer.       Edward J. & Shannon L. Duffy                                      01/13/2016
                 Identification Number.                                            Total                    16.20.00

                                                 2014 • SCHEDULE A • ITEMIZED DEDUCTIONS

                                                                    PER RETURN             PER EXAM     ADJUSTMENT

            1. Medical. dental and Insurance premiums                · 25.082.00           25,082.00           0.00
            2. 10.0% of adjusted gross Income                               0.00            2.247.20
            3. Net medical and dental expenses                         25,082.00           22,834.80        2.247.20 .
            4. Truces                                                   7,661.00            7.661.00            0.00
            5. Home inlerast expense                                   12.323.00           12.323.00            0.00
            6. Qualified mortgage Insurance premiums                        0.00                0.00            0.00
            7. lnves1menl interast                                          0.00                0.00            0.00
            8. Other Interest expense                                       0.00                0.00            0.00
            9. Total interest expense                                  12,323.00           12.323.00            0.00
           10. Contributions                                                0.00            2.083.00      (2,083.00)
           11. Casualty and !heft losses                                    0.00                0.00            0.00
           12. Miscellaneous deductions                                     0.00                0.00            0.00
           13. 2% of adjusted gross income                                  0.00              449.00
           14. Excess miscellaneous deductions                              0.00                0.00           0.00
           15. other miscellaneous deductions                               0.00                0.00           0.00
           16. Total itemized deductions
                (Sum of lines 3, 4. 9,
                 10, 11, 14, and 15 less
                 any applicable limitation)                            45,066.00            44.902.00        164.00



           ITEMIZED DEDUCTIONS WORKSHEET· PER EXAM
           A Total of lines 3, 4, 9, 10, 11, 14, and 15 above                                             44,901.80
           B Total oflines 3, 7, and 11, (plus any gambling
             end cesualtyortheftlosses on line 15 above)                                                   22.834.80
           C Line A less line B                                                                            22.067.00
           D Muttlply the amount on line C by 80%                                                          17.654.00
           E Adjusted gross Income                                                                         22,472.00
           F Itemized deduction !Imitation based on filing status                                         305,050.00
           G Line E less line F                                                                                 0.00
           H Multiply lhe amount on line G by 3%                                                                0.00
            IEnter the smaOer of line D or line H                                                               0.00
           J Total itamlzed deductions
             (Line A less line I, entered on
                line 16 per exam column above)                                                             44,902.00




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     Name of Taxpayer.        Edward 1. & Shannon L. Duffy                                                       01/13/2016
     Identification Number.                                                 Total                                  16.20.00


                                                 2013 • PERSONAL EXEMPTION WORKSHEET



         1. MuHlply $3,900 by the tolal number of exemptions claimed                                              23,400.00
         2. Adjusted groas Income                                                                                600,741.00
         3. ~imitation based on filing status                                                                    300,000.00
            NOTE: If line 2 Is not greater than line 3, STOP;
            enter amount from line 1 on line 8 beloW
         4. Subtract line 3 from line 2                                                                          300,741.00
            If line 4 ls less than zero or more than $122,500 ($61,250 ff merriad filing separately),
           then STOP; enter 0.00 on line 8
         5. Divide line 4 by $2,500 ($1,250 ff married filing separately)                                              0.00
            (If raautt la not a whole number, Increase to next whole number)
         6. Multiply line 5 by 2% and errter the reault as a decimal                                                   0.00
         7. Multiply line 1 by line6                                                                                   0.00
         8. Deduction for exemptions                                                                                   o.oo·
            (subtract line 7 lrom line 1; or amount from line 1 or 0.00. Happlicable)




In Re Duffy,                            Motion for Relief from Stay Exhibit 1, Page 39 of 58
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          Name of Taxpayer:      Edward J. & Shannon L. Duffy                                              01/13/20)6
          Identification Number:                                       Total                                 16.20.00


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        1. Enter the taxable Income from Form 1040, line 43, or the amount from
           Foreign Earned Income Tax Worksheet, line 3, If filing Form 2555 or 2555-EZ                      195,953.00
       2. Enter the qualified dividends from Form 1040, line 9b                                                132.00
       3. If filing Schedule D, enter the smaller line 15 or line 16 of Schedule D, but do not enter
          less than -0-. otherwise, enter the amount from Form 1040, line 13                                     0.00
       4. Add lines 2 and 3                                                                                    132.00
       5. If filing Form 4952, enter the amount, if any, from line 4g of Form 4952. otheiwlse, enter.CJ.         0.00
       6. Subtract line 5 from line 4. If zero or less, enter -0-                                              132.00

        7, Subtract line 6 from line 1.11 zero or less, enter -CJ.                                          195,821.00

       8. Enter:
                 $35,350 If single or manled filing separately;
                 $70,700 If married filing jointly or qualifying widow(er); or
                 $47,350 if head of household                                                                70,700.00

       9. Enter the smaller of line 1 or line 8                                                              70,700.00

       10. Enter the smaller of line 7 or line 9                                                             70,700.00

       11. Subtract line 10 from line 9. This amount Is taxed at 0%                                               0.00

       12. Enter the smaller offine 1 or line 6                                                                 132.00

       13. Enter the amount from line 11                                                                          0.00

       14. Subtract line 13 from line 12                                                                        132.00

       15. Multiply tine 14 by 15% (.15)                                                                         20.00

       16. Figure the tax on the amount on line 7. If the amount on line 7 ls less than $100,000,
           use the Tax Table to figure this tax. If the amount on line 7 ls $100,000 or more,
           use the Tax Computation Worksheet                                                                 42,6-09.00
       17. Add lines 15 and 16                                                                               42,629.00
       18. Figure the tax on the amount on line 1. If the amount on line 1 is less than $100,000,
           use the Tax Table to figure this tax. If the amount on line 1 ls $100,000 or more,
           use the Tax ComputaUon WOrksheet                                   ·                              42,646.00
       19. Tax on all taxable Income. Enter the smaller of line 17 or line 18
           Also Include this amount on Form 1040, line 44, or
           Foreign Earned Income Tax Worksheet, line 4, If appflcable                                        42,629.00




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                       Name of Taxpayer.      Edward J, & Shannon L. Duffy                                       01/13/2016
                       Identification Number.                                        Total                          16.20.00
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                                         2012 • Form 6251 • AllemaUve Minimum Tax ComputaUon

                   1. If filing Schedule A, enter taxable Income before exemptions;
                        otherwise, enter adjusted gross income                                                   218,753.00
                   2. Total adjustment and preferences (excjuding any NOL deduction)                               5,887.00
                   3. Net operating loss deduction                                                                     0.00
                   4. Alternative tax net operating loss deduction                                                     0.00
                   5. Altematlve minimum taxable income (combine lines 1 thru 4)                                 224,640.00
                   6. Exemption amount                                                                            60,090.00
                   7. Subtract line 6 from line 5 Of zero or less, enter zero)                                   164,550.00
                   8. If capltal gains are reported, see line 19 from continuation page
                       (If FEIT worksheet for AMT is used, enter amount from line 6 of that worksheet instead)
                       All others:
                       If line 7 is $175,000 or less ($87,600 If MFS) mulllply
                       line 7 by 2()%. Otherwise, multtply llne 7 by 28% and
                       subtract $3,500 ($1,750 if MFS) from the result                                            42,769.00
                   9. Alternative minimum tax foreign tax credit                                                       0.00
                  10. Tentative minimum tax (line 8 less line 9)                                                  42,769.00
                  11. Regular tax before credits (if Schedule J was used to figure tax,
                       use the refigured amounts for lines 44 and 47 of Form 1040
                      without using Schedule J)                                                                   42,629.00
                  12. Alternative minimum tax                                                                        140.00

                      Exemption Worksheet (line 6 above)

                   A. Exemption amount based on filing status                                                     78,750.00
                   B. Alternative minimum taxable Income                                                         224,640.00
                   C. Enter $112,500 ($150,000 if married filing jointly or
                      qualifying widow(er), $75,000 ii married filing separately)                                150,000.00
                   D. Subtract line C from line B                                                                 74,640.00
                   E. Multiply llne D by 25%                                                                      18,660.00
                   F. Subtract.line E from tine A (If zero or less, enter zero).                                  60,090.00




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                      Name of Taxpayer.   Edward J. & Shannon L. D.l!!!L_                                      _ _ _..o.l/.l.3,nO.~Oul6>----
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                           2012 • Fonn 6251 • Continuation, Tax Computation Using Maximum Capital Gain Rates

                 · 1. Amount from Form 6251 report, line 7                                                              164,550.00
                       (If FEIT worksheet for AMT was used, enter amount from line 3 of that worksheet instead) ·
                   2. Amount from line 6 Qualified Dividends and Capital Gain Tax Worksheet
                       or line 13 Schedule D Tax Worksheet (refigured for AMl)                                              132.00
                   3. Amount from Schedule D line 19 (refigured for AMl)                                                      0.00
                  4. Amount from line 2 If no Schedule D workshee~ otherwise, the smaller of ·
                      the sum of line 2 and line 3 or Schedule D worksheet line 10 (refigured for AM1)                      132.00
                  5. Smaller ofllne 1 or line 4                                                                             132.00
                  6. Subtract line 5 from line 1                                                                        164,418.00
                  7. ifllne 6 is $175,000 or less ($87,500 ff MFS) multiply line6by 26%;
                      otherwise, multiply line 6 by 28% and subtracl $3,500 ($1,750 if MFS)
                      from the result                                                                                    42,749.00
                  6. Enter.
                      $70,700 nmarried filing jointiy or qualifying wldow(er)
                      $35,350 nsingle or married filing separately                                                       70,700.00
                      $47,350 ffheadofhousehold
                  9. Amount fil>m line 7 Qualified Dividends and Capital Gain Tax Worksheet .
                      or line 14 Schedule D Tax Worksheet                                                               195,821.00
                 10. Subtract line 9 from tine 8 {if zero or Jess. enter zero)                                                0.00
                 11. Smaller ofllne 1 or line 2                                                                             132.00
                 12. Smallerofllne 10orline 11                                                                                0.00
                 13. Subtract line 12 from line 11                                                                          132.00
                 14. Mulllply line 13 by 15%                                                                                 20.00
                 15. Subtract line 11 from line 5                                                                             0.00
                 16. Multiply line 15 by 25%                                                                                  0.00
                 17. Total of lines 7, 14 and 16                                                                         42,769.00
                 16. lf line 1 is $175,000 or less ($67,500 ff MFS) multiply line 1 by 26%;
                      otherwise, multiply line 1 by 28% and subtract $3,500 ($1,750 ifMFS)
                      from the result                                                                                    42,783.00
                 19. Smaller of line 17 or line 18. Enter here and on line 6 of Form 6251 report                         42,769.00




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      Name of Taxpayer:        Edward J. & Shannon L. Duffy                             o·u1312016
      Identification Number:                                       Total                   16.20.00



        Primary
        Edward J. Duffy                                                        XXX-XX-XXXX
       1. Self-employment income                                                        175,964.00
       2. Multiply line 1 by 92.35%                                                     162,502.75
       3. Farm optional method income                                                         0.00
       4. Nonfarm optional method income                                                      0.00
       5. Earnings subject to self-employment tax (sum of 2, 3, 4)                      162,502.75
       6. Maximum earnings subject to social security                                   110,100.00
       7. Social security wages and tips from W-2                                             0.00
       8. Unreported lips subject to social security tax from Form 4137                       0.00
       9. Weges subject to social security tax from Form 8919                                 0.00
      10. Sum of lines 7, 8 and 9                                                             0.00
      11. Line 6 less line 10                                                          .JI0,100.00
      12. Multiply the smaller ofline 5 or 11 by 10.40%                                  11,450.40
      13. Multiply line 5 by 2.90%                                                        4,712.58
      14. Self-employment tax (sum of lines 12 and 13)                                   16 162.98
        Secondary
        Shannon L. Duffy                                                       XXX-XX-XXXX
      1. Self-employment income                                                         (4,705.00)
      2. Multiply llne 1 by 92.35%                                                      (4,705.00)
      3. Farm optional method income                                                          0.00
      4. Nonfarm optional method Income                                                       0.00
      5. Earnings subject to self-employment tax (sum of 2, 3, 4)                             0.00
      6. Maximum earnings subject to soelal security                                   110,100.00
      7. Social security wages and tips from W-2                                              0.00
      8. Unreported lips subject to social security tax from Form 4137                       0.00
      9. Wages subject to social security tax from Form 8919 ·                               0.00
     10. Sum of lines 7, 8 and 9                                                             0.00
     11. Line 6'1ess line 10                                                           110,100.00
     12. Multiply the smaller of line 5 or 11 by J0.40%                                      0.00
     13. Multiply line 5 by 2.90%                                                            0.00
     14. Self-employment tax (sum of lines 12 and 13)                                        0.00




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          Name of Taxpayer:        Edward J. & Shannon L. Duffy                            01/13/2016
          Identification Number:                                       Total                 16.20.00

                        20B~"""5eHEOl:llsE sea--GOMPtlTATION·Of SE[f.EMl'[OYMENT TAX
                                                                                                   ---·----··
            Primary
            Edward J. Duffy                                                        543-84-3$53

           1. Self-employment Income                                                       218,182.00
           2. Multiply line 1 by 92.35%                                                    201.491.08
           3. Farm optional method Income                                                        0.00
           4. Nonfarm optional method income                                                     0.00
           5. Earnings subject to self-employment tax (sum of 2, 3, 4)                     201.491.08
           6. Maximum earnings subject to social security                                  113,700.00
           7. Social security wages and tips from W-2                                            o.oo·
           8. Unreported tips subject to social security tax from Form 4137                       0.00
           9. Wages subject to social security tax from Form 8919                                 0.00
           10. Sum of-lines 7, 8 and 9                                                            0.00
           11. Une 6 less line 10                                                           113,700.00
           12. Multiply the smaller of line 5 or 11 by 12.40%                                14,098.80
           13. Multiply line 5 by 2.90%                                                       5,843.24
           14. Self-employment tax (sum of lines 12 and 13)                                  19,942.04

             Secondary
             Shannon L. Duffy                                                      XXX-XX-XXXX

           1. Self-employment income                                                              0.00
           2. MulUply line 1 by 92.35%                                                            0.00
           3. Farm optional method income                                                         0.00
           4. Nonfarm optional method income                                                      0.00
           5. Earnings subject to self-employment tax (sum of 2, 3, 4)                            0.00
           6. Maximum earnings subject to social security           ·                       113,700.00
           7. Social security wages and tips from W-2                                             0.00
           8. Unreported tips subject to social securtty tax from Form 4137                       0.00
           9. Wages subject to social security tax from Form 8919                                 0.00
          10. Sum of lines 7, 8 and 9                                                             0.00
          11. Une6 less line 10                                                                   0.00
          12. Multiply the smaller of line 5 or 11 by 12.40%                                      0.00
          1a·. Multiply line s by 2.90%                                                           0.00
          14. Self-employment tax (sum of lines 12 and 13)                                        0.00




   In Re Duffy,                    Motion for Relief from Stay Exhibit 1, Page 44 of 58
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      Name of Taxpayer:        Edward 1. & Shannon L. Duffy                             01/1312016
      Identification Number:                                       Tola!                   16.20.00

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        Primary
        Edward 1. Duffy                                                         XXX-XX-XXXX

       1. Self-employment Income                                                         25.082.00
       2. Multiply line 1 by 92.35%                                                      23,163.23
       3. Farm optional method Income                                                         0.00
       4. Nonfarm optional method income                                                      0.00
       5. Earnings subject to self-employment tax (sum of 2, 3, 4)                       23,163.23
       6. Maximum earnings subject to social security                                   117.000.00
       7. Socia! security wages and tips from W-2                                             0.00
       8. Unreported tips subject to social security tax from Form 4137                       0.00
       9. Wages subject to social security tax from Form 8919                                 0.00
      10. Sum of lines 7, 8 and 9                                                             .o.oo
      11. Line 6 less line 10                                                           117,000.00
      12. Multiply the smaller of line 5 or 11 by 12.40%                                  2,872.24
      13. Multiply line 5 by 2.90"/c,                                                       671.73
      14. Self-employment tax (sum of lines 12 and 13)                                    3 543.97

        Secondary
        Shannon L. Duffy                                                        XXX-XX-XXXX
       1. Self-employment income                                                              0.00
       2. Multiply line 1 by 92.35%                                                           0.00
       3. Farm optional melhod income                                                         0.00
       4. Nonfarm optional method income                                                      o.oo
       5. Earnings subject to self-employment tax (sum of 2, 3, 4)                             0.00
       6. Maximum earnings subject to social security                                   I 17,000.00
       7. Social security wages and tips from W-2                                              0.00
       8. Unreported tips subject to social security tax from Form 4137                        0.00
       9. Wages subject to social security tax from Form 8919                                 0.00
      10. Sum oflines 7, 8 and 9                         ·                                    0.00
      11. Line 6 less line 10                                                                 0.00
      12. Multiply the smaller of line 5 or 11 by 12.40%                                      0.00
      13. Multiply line 5 by 2.90%                                                            0.00
      14. Self-employment tax (sum of lines 12 and 13)                                        0.00




In Re Duffy,                     Motion for Relief from Stay Exhibit 1, Page 45 of 58
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                                                                                                       Schedule number or exhibit
    Fonn886-A
    tDev. Jan"·-· 19941        I                 EXPLANATION OF ITEMS
    Name of Taxpayer
                   Duffy, Edward J. & ShaMon L.
                                                                      ITax Identification N_umber. . -· . Year/Period ended___ - _____- _-
~-=-==-====~S::;;:::a::'::=:=55::==::=====:t:==~~...:._--=::c:===-=-:...._~~

    Adjustmenl(s) to Prepayment Credit(s) Subject to
    Deficiency (Form 4549 series Line 13a or Form
    5278 Line 20a): ·                                                               2012                     2013


    American opportunity credit                                                   (90.00)               (90.00)




    Total Adjustment Amount:                                                      (90.00)               (90.00)



    Adjustmenl(s} to Prepayment Credil(s} Not
    Subject to Deficiency (Form 4549 series Line 15
    or Form 5278 Line 22):                                                          2012                     2013




    Total Adjustment Amount:



    Fonn886-A (1-1994}                                 Department of the Treasury-Internal Revenue Service



                                           '




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          Name ofTaxpayee Edwan!J. & Shannon L. Duffy                                                             01/13/2016
          Identification Number.                                           Total                                    16.20.00

                                       2012 • FORM 8863 • EDUCATION CREDITS

       PART ur- TENTA"TIVE CREDITS
                                                -.-~-~-~--                                                     ----------··
       AMERICAN OPPORTUNllY CREDIT
       a. STUDENT SSN b. QUALIFIED                   c. SUBTRACT $2,000            d. MULTIPLY       e. IF COLUMN (c) IS ZERO,
                        EXPENSES                      FROM QUALIFIED               COLUMN(c)         ENTER AMOUNT FROM
                        (Max. $4,000)                EXPENSES                       BV25%            COLUMN (b); OTHERWISE,
                                                                                                     ADD $2,000 TO AMOUNT
                                                                                                     IN COLUMN (d)
             XXX-XX-XXXX              226.00                       0.00                    0.00                      226.00·




        1. Tentative American opportunity credit (total of amounts in column (e))                                     226.00
       LIFETIME LEARNING CREDIT
         a. STUDENT SSN     b. QUALIFIED EXPENSES




        2.Total qualified expenses for Lifetime Leaming Credit (total of amounts In column (bl)                         0.00

      PART I• REFUNDABLE AMERICAN OPPORTUNITY CREDIT

        3. Enter$180,000 if married filing JoinUy; $90,000 if single, head of household,
           or qualifying widow(er)                                                                                180,000.00
        4. Modified adjusted gross Income                                                                         244,273.00
        5. Sublrecl line 4 from line 3 (If zero or less, no allowable refundable education credit)                      0.00
        6. Enter $20,000 If married filing Jointly; $10,000 If single, head of household,
           or qualifying widow(er)                                                                                 20,000.00
        7. Divide line 5 by line 6 (not more than 1.000)                                                               0.000
        8.Tentative allowable American opportunity credit (multiply line 1 by line 7)                                   0.00
        9. Refundable American opportunity credit (multiply line 8 by 40%)
           (enter-0- If taxpayer not eligible for this credit)                                                          0.00


      PART II• NONREFUNDABLE EDUCATION CREDITS
       10. Subtrecl line 9 from line B                                                                                  0.00
      11. Enter amount from line 2 (If zero, skip Jines 12 through 18,                                                  0.00
           and enter zero on line 19 and go to line 20)
      12. Enter the smaller ofllne 11 or $10,000
      13. Multiply line 12 by 20%
      14. Enter $124,000 If married filing JolnUy; $62,000 if single, head of household,
           or qualifying widow(er)
      15. Modified adjusted gross income
      16. Sublrect line 15 from line 14 (if zero or less, skip lines 17 and 18,
           and enter zero on tine 19 and go to line 20)
      17. Enter $20,000 If married filing JoinUy; $10,000 if single, head of household,
           or qualifying widow(er)
      18. Divide line 16 by line 17 (not more than 1.000)
      19. Multiply line 13 by line 18                                                                                   0.00
      20. Tentative Nonrefundable Education Credtt (add line 19 and line 10)                                            0.00
      21. Total tax                                                                                                42,769.00
      22. Allowable credits                                                                                             0.00
      23. Subtrecl line 22 from line 21                                                                            42,769.00
      24. Nonrefundable Educaflon Credtt (smaller of line 20 or line 23)                                                0.00




In Re Duffy,                         Motion for Relief from Stay Exhibit 1, Page 47 of 58
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          Name ofTaxpayer. Edward J. & Shannon L. Duffy                                                              01/13/2016
          Identification Number.                                          Total                                        16.20.00


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                                       2013 • FORM 8863. EDUCATION CREDITS
                                                 --------=-·--- ---=---~~                                                ----------~
        PART Ill• TENTATIVE CREDITS

        AMERICAN OPPORTUNITY CREDIT
        a. STUDENT SSN b. QUALIFIED                  c. SUBTRACT $2,000           - d. MULTIPLY         e. IF COLUMN (c) IS ZERO,
                         EXPENSES                    FROM QUALIFIED                 COLUMN (c)          ENTER AMOUNT FROM
                         (Max. $4,000)               EXPENSES                        BY25%              COLUMN (b); OTHERWISE,
                                                                                                        ADD $2,000 TO AMOUNT
                                                                                                        IN COLUMN (d)
             XXX-XX-XXXX              226.00                       0.00                     0.00                          226.00




         1. Tentative American opportunity credit (total of amounts in column (e))                                       226.00
        LIFETIME LEARNING CREDIT
          a. STUDENT $SN     b. QUALIFIED EXPENSES




         2.Total qualified expenses for Lifetime Leaming Credtt (total of amounts In column (b))                            0.00

       PART I• REFUNDABLE AMERICAN OPPORTUNITY CREDIT

        3. Enter$180,000 if maniad filing Jointly; $90,000 If single, head of household,
           or qualifying wldow(er)                                                                                    180.000.00
        4. MO<flfied adjuated gross Income                                                                            600.741.00
        5. Subtract line 4 from line 3 (if zero or lass. no allowable refundable education credit)                          0.00
        6. Enter $20,000 if maniad filing jointly; $10,000 if single, head of household,
           or qua[lfylng wldow(er)                                                                                     20.000.00
        7. Divide line 5 by line 6 (not more than 1.000)                                                                   0.000
        a.Tentative allowable American opportunity credit (muttlply line 1 by line 7)                                       0.00
        9. Refundable American opportunity credit (multiply line 8 by 40%)
           (enter -0- if taxpayer not eligible for this credit)                                                             0.00

       PART II -NONREFUNDABLE EDUCATION CREDITS
       10. Subtract line 9 from line 8                                                                                      0.00
       11. Enter amount from line 2 (If zero, sldp lines 12 through 18,                                                     0.00
           and enter zero on line 19 and go to line 20)
       12. Enter the smaller offfne 11 or$10,000
       13. MuHlply line 12 by 20%
       14. Enter $127,000 If manied filing jointly; $63,000 if single, head of household,
           or qualifying widow(er)
       15. Modified adjusted gross Income
       16. Subtract line 15 from line 14 (lfzero or less, skip lines 17 and 18,
           and enter zero on line 19 and go to line 20)
       17. Enter $20,000 If married filing jointty; $10,000 if single, head of household,
           or qualifying wldow(er)
       18. Divide line 16 by line 17 (not more than 1.000)
       19. Multiply line 13 by line 18                                                                                      o.oo
       20. Tentative Nonrefundable Education Credit (add line 19 and line 10)                                               0.00
       21. Total tax                                                                                                  178.297.00
       22. Allowable credits                                                                                              . 0.00
       23. SUbtract line 22 from line 21                                                                              178.297.00
       24. Nonrefundable Education Credit (smaller of line 20 or line 23)                                                   0.00




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                  Name of Taxpayer: Edward J. & Shannon L. Duffy                                              01/1312016
                  Identification Number:                        Total                                            16.20.00
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                                         2011 • Child Tax Credit and Form 8812 Additional Child Tax Credit

                  1. Amount of credit based on qualifying children                                               4,000.00
                  2. Modified AGI                                                                            1.070.178.00
                  3. Limitation based on filing status ($110,000 if married filing Jointly;                    110.000.00
                     $75,000 If single, head of household, or qualifying widow(er);
                     $55,000 If married filing separate)
                 4. Subtract line 3 from line 2 (If zero or less, enter -0-)                                 . 961,000.00
                 5. Multiply line 4 by .05                                                                      48,050.00
                 6. Subtract line 5 from line 1 (if zero or less, no credit is allowed)                              0.00
                 7. Corrected tax before allowable credits                                                           0.00
                 8. Credtt limitation                                                                                0.00
                 9. Subtract line 8 from line 7                                                                      0.00
                10. Child tax credit (smaller of lines 6 or 9)                                                       0.00



                                         Form 8812 • Additional Child Tax Credit

                 1. Amount from line 1 above (or amount of credit after modified AGI reduction)                      0.00
                 2. Child tax credit allowed (line 10 above)                                                         0.00
                 3. Subtract line 2 from line 1 (If zero or less, no credit is allowed)                              0.00
                4a. Earned income
                4b. Nontaxable combat pay Included on line 4a
                 5. If the amount on line 4a Is more than $3,000, subtract $3,000from line 4a
                    (if line 4a is less than $3,000, then line 5 equals zero)
                 6. Multiply the amount on line 5 by 15%
                 7. Enter the total of the withheld social security and Medicare taxes
                 a. Deductible part of self-employment tax, plus FICA tax on tips and uncollected
                    social security, Medicare, or RRTA taxes
                 9. Total ol llne 7 and line 8
                10. Earned income credit and excess social security and RRTA taxes withheld
                11. Subtract line 10 from line 9 (if zero or less, enter-0-)
                12. Larger of line 6 or line 11
                13. Additional child tax credit (smaller of lines 3 or 12)




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          Name of Taxpayer. Edward J. & ShBnDon L. Duffy                                               01/13/2016
          Identification N_umber.                       Total                                - - - --~·6.20w00,.,__ _
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                                 2014 • Child Tax Credit and Schedule 8812 Child Tax Credit

          1. Amount of credit based on qualifying children                                                 2.000.00
          2. Modified AGI                                                                                 22,472.00
          3. Limitation based on filing status ($110,000 if married filing JoinUy;                       110.000.00
             $75,000 if single, head of household, or qualifying widow(er);
             $55,000 if married filing separate)
         4. Subtract line 3 from line 2 (if zero or less, enter --0-)                                          0.00
         5. Multiply line 4 by .05                                                                             -0.00
         6. Subtract line 5 from line 1 (if zero or less, no credit is allowed)                            2,000.00
         7. Corrected tax before allowable credits                                                             0.00
         8. Credit limitation                                                                                  0.00
         9. Subtract line 8 from line 7                                                                        0.00
        10. Child tax credit (smaller of lines 6 or 9)                                                         0.00



                                 Schedule 8812 • Child Tax Credit

         1. Amount from line 1 above (or amount of credit after modified AGI reduction)                    2,000.00
         2. Child tax credit allowed ~lne 10 above)                                                            0.00
         3. Subtract line 2 from line 1 (If zero or less, no credit Is allowed)                            2,000.00
        4a. Eamed income                                                                                  23,310.00
        4b. Nontaxable combat pay Included on line 4a                                                          0.00
         5. If the amount on line 4a Is more than $3,000, subtract $3,000 from line 4a                    20,310.00
            (If line 4a Is less than$3,000, then line 5 equals zero)
         6. Multiply the amount on line 5 by 15%                                                           3,047.00
         7. Enter the total of the withheid social security, Medicare, and Additional Medicare ta,ces          0.00
         8. Deductible part of self-employment tax, plus FICA tax on tips and uncollected                      0.00
            social security, Medicare, or RRTA ta,ces
         9. Total of line 7 and line 8                                                                         0.00
        10. Eamed Income credit and excess social security and RRTA taxes withheld                             0.00
        11. Subtract line 10 from line 9 (if zero or less, enter·O.)                                           0.00
        12. _Largerof line 6 or line 11                                                                    3.047.00
        13. Additional child tax credit (smaller of lines 3 or 12)                                         2,000.00




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         Name of Taxpayer.      Edward 1. & Shannon L. Duffy                                        Page       of
         Identification Number.                          Total                                      Tax Period Ending: 12/31/2011


                                           Accuracy-Related Penaltles under IRC 6882

        20 Percent Penalty • Internal Revenue Code Section 8882(a)

         It has been determined lhat the underpayment of tax shown on line_ 11 below Is attributable to one
         or more of the following:

          (1) Negligenoe or disregard of rulas or regulations:
          (2) Substantial understatement of income tax;
          (3) Substantial valuation misstatement (overstatement);
          (4) Transaction lacking economic substance.


         Therefore, an addttion to tax Is imposed as provided by Section 6662(a) of the Internal Revenue Code.

          1-. Total tax as corrected                                                                                 357,644.00
          2. Less: Total refundable a-edits as corrected                                                                   0.00
          3. Net tax due after allowable refundable credits                                                          357,644.00
              (Line 1 less line 2) (not less than 0.00)
          4. Total tax per return                                                                                     _39,500.00
          5. Total refundable credils per return                                                                          436.00
          6. Net tax less refundable credHs per return                                                                 39,064.00
              (Line 4 less line 5) (not less than 0.00)
          7. Net tax due in excess of net tax per return                                                             318,580.00
             (Line 3 less line 6)
          8. Adjustments to prepayment credits - increase (decrease)                                                       0.00
          9. Tax due after adjustment to prepayment credits (line 7 less line 8)                                     318,580.00
         10. Less: Refunds held in excess of refundable credits per return less-iax per return
             1Oa. Frozen refunds                                                                       0.00
             10b. Refundable credits per return less tax per return (not less than 0.00)               0.00
             10c. Net refunds held In excess of refundable credils per return less tax per return                           0.00
                  (Line 10a less line 10b) (not less than 0.00)
         11. Underpayment to vmlch Section 66S2(a) applies                                                           318,580.00
             (Line 9 less line 10c) (not less than 0.00)
         12. Applicable penalty rate -                                                                                  20.00%
         13. Section 6S62(a) accuracy-releted penally (line 11 multiplied by line 12)                                 63,716.00
         14. Less: Previously assessed/previously agreed Section 6662(a) penally                                           0.00
         15. Total Section 6662(a) accuracy-related penalty                                                           63,716.00
             (Une 13 less line 14)




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           Name of Taxpayer.      Edward 1. & Shannon L. Duffy                                         Page       of

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           Identification Numbar.                          Total                                       Tax Period Ending: 12/31/2012


                                             Accuracy-Related Penalties under IRC 8862

           20 Percent Penalty - Internal Revenue Code Section 6882(a)

            II has been detennlned that the underpayment of tax shown on line 11 below is attributable to one
            or more of the following:

             (1) Negligenoe or disregard of rules or regulations;
             (2) Substantial understatement of lnconie tax;
             (3) Substantial valuation misstatement (overstatemenl);
             (4) Transaction lacklng economic substanoe.

            Therefore, an addHlon to tex is imposed as provided by Section 6662(aJ of the lntemal Revenue Code.

             1. Total tax as corrected                                                                                    64,247.00
             2. Less: Tola! refundable credits as correctsd                                                                    0.00
             3. Net tax due after allowable refundable credits                                                            64,247.00
                (Line 1 less line 2) (not less than 0.00)
             4. Total tax per ratum                                                                                        5,315.00
             5. Total refundable credlls per retum                                                                            90.00
             6. Net tax less n,fundable credils per retum                                                                  5,225.00
                (Line 4 less tine 5) (not less than 0.00)
             7. Net tax due In exoess of net taxperretum                                                                  59,022.00
                (Line 3 less line 6)                                                                                           0.00
             6. Adjustments to prepayment credits- Increase (decrease)
                                                                                                                          59,022.00
             9. Tax due after adjustment to prepayment credits (line 7 less line 8)
            10. Less: Refunds held in excess of refundable credits per ratum less tax per retum
                10a. Frozen refunds                                                                        0.00
                1Ob. Refundable credits psr retum less tax per return (not less tilan 0.00)                0.00
                10c. Net refunds held in exoess of refundable credits per return less )ax per return                            0.00
                      (Line 10a less line 10b) (not less than 0.00)
                                                                                                                           59,022.00
            11. Underpayment to which Section 6662(a) applies
                (Line 9 less line 10c) (not less than 0.00)
            12. Applioeble penalty rate                                                                                       20.00%
            13. Section 6662(a) accuracy-related penalty (line 11 muttlplled by line 12)                                  .11,804.40
            14. Less: Previouoly a&&essed/pnovlously agreed Section 6662(a) penalty                                              0.00
            15. Total Section 6662(a) accuracy-related penalty                                                             11,804.40
                 (Line 13 less line 14)




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        Name of Taxpayer.      Edward 1. & Shannon L. Duffy                                             Page       of
        Identification Number.                          Total                                           Tax Period Ending: 12/31/2013
                                                                                                    -......------ -------- ---··
                                           Accuracy-Related Penalties under IRC 6682

        20 Percent Penalty- lntamal Revenue Code Section 8882(a)

         It has been determined that the underpayment of tax shown on line 11 below is attributable to one
         or more of the following:

          (1) Negligence or disregard of rules or regulations;
          (2) Substantial understatement of Income tax;
          (3) Substantial valuation misstatement (overstatement);
          (4) Transaction lacking economic substanca.


         Therefore, an addition to tax is imposed as provided by Section 6662(a) of the Internal Revenue Code.

          1. Total tax as conected                                                                                        198,239.00
          2. Less:Total refundable credits as corrected                                                                         0.00
          3. Net tax due after allowable refundable credits                                                               198,239.00
             (Line 1 fess line 2) (not less than _0.00)
          4. Total tax per retum                                                                                                0.00
          5. Total refundable credits perretum                                                                                 90.00
          6. Net tax less refundable credits per retum                                                                          0.00
             (Line 4 less line 5) (not less than 0.00)
          7. Net tax due in excass of net tax per return                                                                 198,239.00
             (Line 3 less line 6)
          8. Adjusbnents to prepayment credits- increase (decrease)
                                                                                                                               0.00
          9. Tax due after adjustment to prepayment credits (line 7 less line 8)                                         198,239.00
         10. Less: Refunds held In excess of refundable credits per retum less tax per retum
             10a. Frozen refunds                                                                           0.00
             10b. Refundable credits per return less tax per retum (not less than 0.00)                   90.00
             10c. Net refunds held in excess of refundable credits per return less tax per return                               0.00
                  (Line 10a less line 10b) (not Jess than 0.00)
         11. Underpayment lo which Section 6662(a) applies                                                                198,239.00
             (Line 9 less tine 10c) (not less than 0.00)
         12. Applicable penalty rate                                                                                         20.00%
         13. Section 6662(8) accuracy.related penalty (line 11 mu!Uplied by line 12)                                      39,647.80
         14. Less: Previously assessed/previously agreed Section 6682(&) penalty                                                0.00
         15. Total Section 6662(8) accuracy-related penalty                                                               39,647.80
             (Line 13 less line 14)




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           Name ofTa,cpayer.      Edward J. & Shannon L. Duffy                                         Page       of
           Identification Number.                          Total                                       Tax Period Ending: 12/31/2014


                                            Accuracy-Related Penaltlea under IRC 8662

           20 Percent Penalty• Internal Revenue Code Secdon 6882(a)

            It has been detennined thel the underpayment of tax shown on line 11 below is attributable to one
            or more of the following:

             (1) Negllgenoe or disregard of rules or regulations;
             (2) Substantial underatatement ol lnoome tax;
             (3) Substantial valuation misstatement (ovaratatement);
             (4) Transaction lacking eoonomlc substance.

            Therefore, an addition to tax Is imposed as provided by Section 6662(&) of the lntemel Revenue Code.


             1. Total tax as oorrected                                                                                     3,544.00
             2. Less: Total refundable credits as oorrected                                                                3,000.00
             3. Net tax due after allowable refundable credits                                                               544.00
                (Una 1 less line 2) (not less than 0.00)
             4. Total tax parretum                                                                                              0.00
             5. Total refundable credits per retum                                                                          1,000.00
             6. Net tax less refundable credits per return                                                                      0.00
                (Une 4 less line 5) (not less than 0.00)
             7. Net tax due in excess of net tax per retum                                                                   544.00
                (Line 3 less line 6)                                                                                           0.00
             8. Adjuslmenls to prepayment credits- increase (decrease)
                                                                                                                             544.00
             9. Tax due after adjustment to prepayment credits (line 7 less line 8)
            10. Less: Refunds held in excess of refundable credits per retum lsss tax par return
                 10a. Frozen refunds                                                                       0.00
                 10b. Refundable credits per retum less tax per retum (not lass than 0.00)             1,000.00
                 10c. Net refunds held In excess of refundable credits per return less tax per retum                            0.00
                      (Line 10a less line 10b) (not lass than 0.00)
                                                                                                                              544.00
            11. Underpaymenttowhlch Section 6662(a) applies
                (Line 9 less llne 10c) (not less than 0.00)
            12. Applicable penally rate                                                                                      20.00%
            13. Section 6662(a) accuracy-related penally (line 11 muhlplled by line 12)                                       108.80
            14. Less: Prevlouaty essessed/previously agreed Secllon 6662(a) penalty                                             0.00
            15. Tole! Section 6662(a) accuracy-related penally                                                                108.80
                 (Line 13 toss line 14)




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         How Bankruptcy Affects Your Right to File a Petition                                                                        ~
         in Tax Court in Response to a Notice of Deficiency                                                                          IRS
_ _ _ . JSJ10tlce ex~.ta_petlllon-tbo..lax.COurt---:SeFial-Btmkruptcyi'illngsi,y-fndMduals Who-f'flect-____ ·
      In response to a Notice of Deficiency may be affected by               Bankruptcy Petition& on or after October 17, 2005
         ankrUplcy and the automatic stay. Failure to petition the Tex
         ourt within Iha time provided by law in the Notice of Deficiency     • Ono Prior BankrUptcy Petition Flied and Dlamlsaed In
         111 msult In the Tex Court lacking Jurisdiction to hear your           tho Year before tho Current BankrUptcy Petition,
            ltion. Also, note that the rules set forth below only pertain to
         etltloning Iha Tax Court in response to a Notice of Deficiency.          o Tho automatic stay will terminate 30 deys after the
       f you receive another Notice from IRS that provides you with                 current bankruptcy petition was filed.
            opportunity to petition the Tex Court, the benkrllptcy may            o The Bankruptcy Court may extend the automatic stay
        fleet your rights, but other rules may apply as we IL Hyou are              beyond the 30 day period Hthe debtor demonstrates
            msanted bY an attorney In your bankruptcy preceding, you                that the current bankruptcy was flied In good faith.
        hould consult with him or her about how best to proceed. If               O If you do not agree with the Notice of Deficiency
          u are not represented, you may obtain 1Bpresentatlon.                     and the Bankruptcy Court hea not extended the
                                                                                    automatic stay, then you may petition the Tex Court for
         HE AUTOMATIC STAY                                                          redetermination after Iha automatic stay has expired.
          e flllng of a bankruptcy petition operates as an                       • 1wo or More Prior Banknlptcy Petitions Flied and
         utomatlc stay. Generally, the automatic stay prohibits the                Dismissed In the Year before the Current Bankruptcy
          mmencement or continuation of a Tax Court pri>ceedlng and,               Petition.
         s a msult, may extend the deadline to file a petition with the             o The automatic stay WIii not come Into effect upon the
         ax Court.                                                                    filing of the current bankruptcy petition.
                                                                                    o The Bankruptcy Court may provide an automatic stay.
         ou may request the Bankruptcy Court 1111 the automatic stey
           that you are able to Illa a petition In Tax Court to challenge           o The 9()-day period (or 150-day period, H we malled
          e Notice of Deficiency while you are In bankruptcy. ff you file             this letter to an address outside the U.S.) to file a
          Tex Court pat!Hon while Iha automatic stay Is still In effect, the          petition with the Tex Court continued to run, unless the
         ex Court may dismiss the petition for lack of Jurisdiction.                  Bankruptcy Court provided an automatic stay.
                                                                                    o If you do not agree with the Notice of DeflCloncy
         ITUATIONS WHERE THE AUTOMATIC STAY                                           and the Bankruptcy Court hes not provided an
          AY NOT BE IN EFFECT               .                                         automatic stay, then you may petlHon the Tex Court
                                                                                      for redetermination bY the date shown In the Notice of
         ankruptcy Petitions filed by Individuals on or after                         Ooflclency.
         ctober 17, 2005                                                              Important: The setlal filing rules explained above
                                                                                      do not apply to current Chapter 11 or 13 bankJUptcy
          • Tex Court proceedings to redetermine post-petition tax                    petitions where the previous bankruptcy case was
            liablllties are not stayed.                                               a Chapter 7thatwas dismissed under 11 use§
          • Tex Court proceedings for post-petition periods mey be                    707(b).
            commenced or continued without regard to whether the
                                                                               When One or Both Spouses are In Bankruptcy
            taxpayer flied a pet!Hon In bankruptcy on or after October
            17, 2005.                                                           • If both spouses are In bankruptcy and the bankruptcy
          • Uabllltles that are owed for tax periods which end after you          automatic atay Is In effect. each spouse should request the ·
            file bankruptcy are post-petition tax llabllltles. ·                  Banktuplcy Court to lift the automatic stay before filing a
                                                                                  Tax Court petition for redetermination of tax llabllltios.
          • Generally, a llablllty for a tax period thal etraddles the date
            that you file bankruptcy is considered to be a post-pet!Hon         • If the automatic stay le lifted with regald to only one
            tax llablllty.                                                        spouse, then the Tex Court would only have jurisdiction
                                                                                  over that spouse's petition.
          • If you do not agree with the Notice of Oefaciency with
            regard to a post-petition tax llablllty, then you may petition      • If only one spouse ls In bankruptcy, then only that spouse
            the Tax Court for redetermination by the date shown In the            must request that the stay be !Hied If that spouse wants to
            Notice of Deficiency.                                                 have the tax lleblllty redetermined bY tho Tax Court.


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  '
         • The spouse who Is not In bankruptcy may file a separate             of days that had expired prior to the filing of the bankruptcy
           petition In Tax Court and must be vlgllant to file by the date      petition, plus an addlflonal 60 days, in which to file your Tax
           shown In the Notice of Deficiency.                                  Court petlflon for redetennlnetlon of the llabllitles for those tax
         • The automatic stay does not extend protection to the                periods that you were previously, by way of the automatic stay,
           spouss who Is not In bankruptcy.                                    prohlbtted from fifing a petition In Tax Court.
       - • -11 ljoth spouses are In bwilauptcy; tt Is possible for only on_e__ -                                      -
                                                                                   Days to pe1ltlon the Tex Court per the Notice of       90 (or 150)
           spouse to be considered a serial flier (as addressed above).            Deficiency
      FILING A TAX COURT PETITION AFTER THE                                        Number of days that expired prior to fillng the        .
      AUTOMATIC STAY HAS TERMINATED                                                bankl\lptcy petition
                                                                                   Number of Days left of ttu, original 90 daya (or 150   =
      You may file a Tax Court petition after the automatic stay Is            days}
      lifted by the Bankruptcy Court or when the automatic stay Is no          IRC section 8213(Q Days                                    +60
      longer In effect by operation of law.                                    Number cf Days to file a Tax Court Petition                =
                                                                               Date Automatic Stay Wes Ufted                              +
      If the automatic Blay was In effect as of the date of the
      Notice of Deficiency, then once the automatic stay ends,                 L8ot Date to FIie a P-n wtlh tho Tax Court                 =
      you have 90 days (or 150 days tt your address was outside
      the Untted States), plus an addttlonal 60, to file your Tax Court       CHALLENGING THE IRS'S DETERMINATION OF
      petition requesting a redetennlnatlon of the deficiency.                A TAX LIABILITY IN BANKRUPTCY COURT
                                                                               Depending on the facts of your bankruptcy filing, the
       Days to petition the Tex Court per the Notice of   OO(or 150)
       Deficiency
                                                                              bankruptcy process may give you an altematlva forum to
                                                                              determine your tax liabilllles. The IRS may file a proof of claim
       IRC section 6213(ij Days                           +60
                                                                              wHh the Bankruptcy Court for the amounts reflected on the
       Number of Days to file a Tax Court Petition        o 150 (OT 210)
                                                                              Notice of Deficiency plus applicable Interest and addttlons to
       Date AIJtornatlc Stay Was Uftod                    +                   tax. You may object to Iha proof of claim by filing an objection
       Laat Date to FIie a Pelltlon with the Tax Coult                        with the Bankruptcy Court. In eome bankruptcy petitions,
                                                                              you may be able to Initiate a proceeding under Bankruptcy
      If the autornalfc Blay was nm In effect as of 1he date of the           Code § 505 for the court to determine the amount of your
      Notice of Deficiency end you file a bankruptcy petition wtthln          tax lloblltty. If your tax lloblllty Is determlnad either by an
      the 90 day period (or 150 days If your address was outside the          objection to t.he claim proceeding or by a § 505 detennlnatlon
      United States) In which you have to Hie a Tux Court petition,           by the Bankruptcy Court, then that determination ls final, and
      the bankruptcy automatic stay wlll extend the deadline for              the Tax Court would no longer have Jurisdiction to consider
      filing your Tax Court petition. Once the stay ends, you have            an otherwise timely petition for redetennlnatlon after the
      the original 90 days (or If applicable, 150 days) less the number       tennlnatlon of the automatic stay.




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                                                      (                                                                         ('"         )AN f 9 ~016
                                                                                                                                '
Fo m4089-B                                             Department of the Treasury-Internal Revenue Servk:e                                   Symbols
(Oc ober 1999)                                             Notice of Deficiency-Waiver                                                        SE:S:E:TS:W:SEA:WJ40

Nan e and address of taxpayer(s)                                                                                  Social Security or Employer Identification Number
Ed, ard J. & Shannon L. Duffy
171 • Southwest Highland Road
 'or land QR .97221 2WJ               -- - - -                              -                      -------- - - - - - - - - - - - ------



Kine of tax                       0       Copy to au1horized representative

 Inc pme




                                                        DEFICIENCY - Increase In Tax and Penalties

T~· Year Ended:                 Deficiency:                    Penalties or Additions to Tax:
                                                                        IRC6662(a)
De :ember 31, 2009                      $44,514.00                         7,942.80
De :ember 31, 2010                      $40,469.00                         8,093.80
De ~mber 31, 2011                      $318,580.00                       63,716.00
De ember 31, 2012                       $59,022.00                        11.804.40
De, ember 31, 2013                     $198,329.00                       39,647.80
De ,ember 31, 2014                       $1,544.00                           108.80


'Th ~ amount only reflects the addition to tax under IRC section 6651(a){2) through the date af this notice. The addition to tax will con tin ue
tooc crue from the due date of the return ot a rote of one-half percent (0.5%) for each month, or fraction thereof, of nonpayment, not
exce ~ding twenty-five percent {25.0%).
                                                  See the attached explanation for the above deficlencJes
 I o nsent to the immediate assessment and oollection of the deficiencies (Increase in tax and penalties) shown above, plus any
 Int rest provided by law.

 Yo rSlgnature          ~ ..............................................................................................................................iw,rnblff8/"'

 Sp use's Signature
 (I/ 1 Joint Return
 11,1 s Flied)
                        ~          ...................................................................................................'°""''"""'' ......
  Ta payer's
  Re resentatlve
  Sig 1 Here            ~          ······--···--····---·----·-----··-·-·-··-·--···-------··--·-·-·----·--·········---····--·--····--·····--·-·-·······-·
                                                                                                                                     (Date signed)



                        _. ............................................................. .............-........ ...........................................................
                         C: . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  Co porateName                                                                                     _                       _


  Co porate Officers
  SI.ti nHere
                                   ..............(Signature) ..........................................(Title) ..........................................................(~~te ~lgne~)......
                                               (Signature)                                              (rrtle)                                                      (Date signed)

                                  If uo•• a0 ree ""1"ase s1-- --- co--·- --d "'etu-- 1t· kee"" the othPr CO""''"'"' vour "'"'"ord!t..
cat. I o.29000E                                                                 www.irs.gov                                                                  Form 4089-B (10·1999)




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     . i - - - - - - - - - - - ! (___________~r-                                                              _ _ _ _ _ _ __
•                                                        Instructions for Form 4089 B
         ote:
            If you consent to the assessment of the amounts shown in this waiver, please sign and return it in order to limit the accumulation of
     1    terest and expedite our bill to you. Your consent wjll not prevent you from filing a claim for refund (after you have paid the tax) if
         ou later believe you are entitled to a refund. It will not prevent us from later detennining, if necessary, that you owe additional tax;
         or will it extend the time provided by law for either action.                      _______________ ~ ___ _ _______ _
         --------                - - -    -   -    -      .     .     -     - .     -

           If you later file a claim and the Internal Revenue Service disallows it, you may file suit for refund in a district court or in the United
         tales Claims Court, but you may not file a petition with the United States Tax Court.

           oMuotSlgn

           If this waiver is for any year(s) for which you filed a joint return, both you and your spouse must sign the original and duplicate of
         is fonn. Sign your name exactly as it appears on the return. If you are acting under power of attorney for your spouse, you may sign
          agent for him or her.

          Foran agent or attorney acting under a power of attorney, a power of attorney must be sent with this fonn if not previously filed.

           For a person acting in a fiduciary capacity (executor, administrator, trustee), file Form 56, Notice Concerning Fiduciary
         elationship, with this fonn if not previously flied.                                             ·

          For a corporation, enter the name of the corporation followed by the signature and title of the officer(s) authorized to sign.

         ptlonal Paragraphs

          A check in the block to the left of a paragraph below indicates that the paragraph applies to your situation.


                   D      The amount shown as the deficiency may not be billed, since all or part oflhe refund due has been held to
                          offset all or a portion of the amount of the deficiency. The amount that will be billed, if any, is shown on
                          the attached examination report.

                   D      The amount shown as a deficiency may not be billed, since the refund due will be reduced by the amount
                          oflhe deficiency. The net refund due is shown on the attached examination report.




     t. No. 29000E                                                        WWW.ir!,f!OV                                        Form 4089--B (10-1999)




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